Case 19-21192-jra Doc 1 Filed 04/30/19 Page 1 of 76

Fiil in this information to identify your case:

    

United States Bankruptcy Court for the:

 
 

FILED ZUl‘Eii:lF`F-‘.BU omit 43

__ . -. -. . : ': :: .:i-t
Nonhem District of indiana inner i;LEF:if.i l,lf: la\Z\LlP~T) IHHB "* y

   

Case number (/rknown): Chapter you are filing under:

Chapter 7
Cl Chapter 11
n Chapter 12 _ _ _
Cl Chapier 13 m Check if this is an

amended filing

 

Official Form 101
Voluntary Petition for lndividuals Filing for Bankruptcy 12/15

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separateiy, the form uses Debtor 1 and
Debtor 2 to distinguish between them, In joint cases, one of the spouses must report information as Debror 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possib|e. if two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

ldentify Yourself

 

 

 

 

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

1. Your full name

Write the name that is on your Richard N/A

government-issued picture _ F,

identification (for example, F"St name "`st name

your dn'ver’s license or C

passport). Midd|e name Middle name

Bring your picture Nee|y

identification to your meeting Lasf name best name

with the trustee. Jr

Sufiix (Sr., Jr., |l, ili)

sumx (sr., Jr., u, in)

 

 

 

 

 

 

 

 

 

(mN)

. A|| other names you N/A
have used in the last 8 F;,$¢ name F;,St name
years
|nc]ude your married or Mlddle name Middie name
maiden names.
Last name Lasi name
N/A
First name First name
Middle name Middle name
Last name Last name
Only the last 4 digits of
yourSocialSecurity XXX _xx"_z--§--B---§-- XXX -XX"----------
number or federal oR oR
individual Taxpayer 9 g
identification number XX "' XX _ ___ »_-__- ____ XX " XX ‘

 

nffinial Fnrm 1 01

annntarv Pntltinn for lnr'liv|dnal§ Filinn fnr Ranknmtnv harm 1

 

Debtor 1

Richard C Neely Jr

 

First Name Midd|e Name

Last Name

Case number (iikmwn)

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4. Any business names
and Empioyer
identification Numbers
(ElN) you have used in
the last 8 years

include trade names and
doing business as names

About Debtor 1:

9 l have not used any business names or Ele.

About Debtor 2 (Spouse Only in a Joint Case):

cl l have not used any business names or Ele.

\

 

Business name

Business name

 

Business name

Business name

W""

H"”

 

5. Where you live

1877 Boardwali< Circle
Number Street

if Debtor 2 lives at a different address:

Number Street

 

 

 

Portage |N 46368 ,

City Staie ZlP Code City Sfate ZlP Code
Porter

County County

if your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address

|f Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address

 

 

 

 

 

Same

Number Street Number Street

P.O. Box F.O. Box

City State ZlP Code City State ZlP Code
6. Why you are choosing Check one: Check one:

this district to file for
bankruptcy

a Over the last 180 days before Hling this petition,
l have lived in this district longer than in any
other district.

m l have another reason. Explain.
(see 28 u.s.c. § 1408.)

 

 

 

 

m Over the last 180 days before filing this petition,
i have lived in this district longer than in any
other dlstrict.

m l have another reason. Explain.
(see 28 u.s.c. § 1408.)

 

 

 

 

 

Offi¢~.iai l'-'nrm 101

annntarv Pnfitinn fnr lndividuais Filinn for Ran|rruntnv harm 9

 

Debtor 1

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First Name

Richard C Neely Jr

Middle Name

Case number (irknown)
Last Name

m Tell the Court About Your Bankruptcy Case

7.

The chapter of the
Bankruptcy Code you
are choosing to file
under

Check one. (For a brief description of each, see Notice Requirecl by 11 U.S.C. § 342(b) for Individuals Filing
for Bankruptcy (Form 201 O)). Also, go to the top of page 1 and check the appropriate box.

Chapter 7

l:l Chapter 11
Ei Chapier 12
C] Chapier 13

 

 

 

 

 

 

 

 

 

 

 

8. How you will pay the fee L:l l will pay the entire fee when l file my petition. Please check with the clerk’s ofhce in your
local court for more details about how you may pay. Typica|ly, if you are paying the fee
yourseif, you may pay with cash, cashier’s check, or money order. if your attorney is
submitting your payment on your beha|f, your attorney may pay with a credit card or check
with a pre-printed address

E l need to pay the fee in installments. if you choose this option, sign and attach the
Application for individuals to Pay The Filing Fee in /nsta/lments (Ofiicial Form 103A).
U i request that my fee be waived (You may request this option only if you are hling for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). if you choose this option, you must fill out the App/ication to Have the
Chapter 7 Filing Fee Waived (Ofiiciai Form 1033) and file lt with your petition.
9. Have you filed for 3 No
bankruptcy within the _ '
last 8 years? a Yes. District When Case number
MM/ DD/YY¥Y
District When Case number
Mivi/ DD/YYYY
District When Case number
Mivi/ DD/YYYY
10. Are any bankruptcy a NO
cases pending or being _ _
filed by a spouse who is n Yes. Debtor Reiationship to you
not mmg this ca_se with District When Case number, if known
you, or by a business iviM / DD /YYYY
partner, or by an
affiliate?
Debtor Reiationship to you
District When Case number, if known
MM / DD / YvYY
11- D° _yOu rent your B No. Goioiine12.
res'dence? n Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your
residence?

Of\'ir‘.ial Fnrm 1 01

ij No. Go to line 12.

Cl Yes. Fill out initial StatementAbouf an Eviction Judgment Against You (Form 101A) and file it with
this bankruptcy petition.

aniintarv Pntitinn fnr lnr'iivir'|iiais Filinn lFnr Rankriintr~.v none 3

Debtor 1

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Richard C Neely Jr

Case number iiiknown)

 

Firat Name

Middle Name

Lasl Name

Report About Any Businesses You own as a Sole Proprietor

12.

 

Are you a sole proprietor
of any full- or part-time
business?

A sole proprietorship is a
business you operate as an
individua|, and is not a
separate legal entity such as
a corporation, partnership, or
LLC.

if you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

a No. Go to Part 4.

l:l Yes. Name and location of business

 

Name of business. if any

 

Number Street

 

 

City State ZlP Code

Check the appropriate box to describe your business:

n Health Care Business (as defined in 11 U.S.C. § 101(27A))
n Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
ij Stockbroker (as defined in 11 U.S.C. § 101(53A))

n Commodity Broker (as defined in 11 U.S.C. § 101(6))

Cl None of the above

 

13.

Are you Filing under
Chapter 11 of the
Bankruptcy Code and
are you a small business
debtor’?

For a definition of small

business debtor, see
11 U.S.C. § 101(51D).

If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
can set appropn`ate deadlines if you indicate that you are a small business debtor, you must attach your
most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if

any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

a No. lam not filing under Chapter11.

n No. i am filing under Chapter 11, but l am NOT a small business debtor according to the definition in

the Bankruptcy Code.

m Yes. l am filing under Chapter 11 and l am a small business debtor according to the definition in the

Bankruptcy Code.

Report if You Own or Have Any Hazardous Property or Any Froperty That Needs lmmediate Attentlon

14.

 

Do you own or have any
property that poses or is
aiieged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?
For example, do you own
perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

(')i"fir:ia| an'n 101

a No
n ¥es. What is the hazard?

 

 

if immediate attention is needed, why is it needed?

 

 

Where is the property'?

 

 

 

Number Street
City State ZlP Code
animtarv Potitinn fnr individuals Filinn fnr Rankrimtnv none A.

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manoli Richard C Neely Jr

First Name Middle Name

Last Name

Case number (iriawwn)

Explain Your Efforts to Receive a Briefing About Credit Counseling

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. if you
cannot do so, you are not
eligible to file.

if you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

official i-'-nrm 101

About Debtor 1:

You must check one:

iz i received a briefing from an approved credit
counseling agency within the 180 days before l
Hled this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certihcate and the payment
plan, if any, that you developed with the agency.

n l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have a
certificate of compietion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

E] i certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 530-day temporary waiver
of the requirement

To ask for a 30-day temporary waiver of the
requiremenf, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

lf the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you fi|e.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. if you do not do so, your case
may be dismissed.

Any extension of the 30~day deadline is granted
only for cause and is limited to a maximum of 15
days.

cl l am not required to receive a briefing about
credit counseling because of:

a lncapacity. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances

El Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the intemet. even after l
reasonably fried to do so.

[] Active duty. l am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

aniintarv Pnfitinn fnr lnriivirln:ilis Filirm for

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

n i received a briehng from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

n i received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any,

n l certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

lf the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any, if you do not do so, your case
may be dismissed

Any extension of the 30~day deadline is granted
only for cause and is limited to a maximum of 15
days.

[] i am not required to receive a briefing about
credit counseling because of:

n incapacity. l have a mental illness or a mental
deficiency that makes me
incapable cf realizing or making
rational decisions about flnances.

n Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, cr
through the intemet, even afterl
reasonably tried to do so.

in Active duty. l am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Rankriint¢~.v name 5

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babiori Richard C Neely Jr

Hrst Name Middie Name

Answer These Questions for Reporting Purposes

Last Name

Case number (il'known)

 

16. What kind of debts do
you have?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a persona|, family, or household purpose.”

El No.eoiolina leb.
Yes. Go to line 17.

16b. Are your debts primarily business debt$? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment

n No. Go to line 16c.
Ci Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

 

 

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is

n No. l am not Hling under Chapter 7. Go to line 18.

m Yes. | am Gling under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

 

 

excluded and 3 NO
administrative expenses
are paid that funds will be n YeS
available for distribution
to unsecured creditors?
18. How many creditors do B 149 Ci 1,000-5,000 lI] 25,001-50,000
you estimate that you ill 50-99 El 5,001-10,000 lIl 50,001-100,000
°We? ill 100-199 El 10,001-25,000 Cl lvlora than 100,000
Cl 200-999
19. How much do you Ci $0-$50,000 El $1,000,001-$10 million ill $500,000,001-$1 billion

estimate your assets to
be worth?

El $50,001-$100,000
2 $100,001_$500,000
El $500,001-$1 million

E] $10,000,001-$50 million
lIl $50,000,001-$100 million
ill $100,000,001-$500 million

El $1,000,000,001-$10 billion
El $10,000,000,001-$50 billion
El More than $50 billion

 

20. How much do you
estimate your liabilities
to be?

Sign Below

For you

Offir.ial Fnrm 101

E] $0-$50,000

l`.] $50.001-$100,000
Ei $100,001-$500,000
El $500,001-$1 million

El $1,000,001-$10 million

El $10,000,001-$50 million
El $50,000,001-$100 million
ill $100,000,001-$500 million

El 3500,000,001-$1 billion

El $1.000,000,001-$10 billion
El $10,000,000,001-$50 billion
Ci More than $50 billion

l have examined this petition, and l declare under penalty of perjury that the information provided is true and

correct

lfl have chosen to file under Chapter 7, l am aware that l may proceed, if eligib|e, under Chapter 7, 11,12, or 13
of title 11, United States Code. l understand the relief available under each chapter, and | choose to proceed

under Chapter 7.

if no attorney represents me and l did not pay or agree to pay someone who is not an attorney to help me fill out
this document, l have obtained and read the notice required by 11 U.S.C. § 342(b).

l request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

l understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

jew N \\VL/\ 6\\/\/\ xN/A

Signature of Debtor 1

Executed en 04/30/2019
W'T_D_D_/"YYY`Y_

Vn|nntarv P¢;titinn fnr |ndiviriilal.c Filinn fnr Rankr\rntnv

 

Signature of Debtor 2

Executed on

MM/ DD /YYYY

nance Fi

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Debtori Richard C Neely Jr Case number (ifknowh)

FirstNarne Middle Name l_astNarna
For you if you_ are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy Wlfh°Ut an should understand that many people find it extremely difficult to represent
attorney themselves successfully. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.
if you are represented by
an attorney, you do not To be successful, you must correctly Hle and handle your bankruptcy case. The rules are very

need to file this page_ technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. if that happens, you could lose your right to die another
case, or you may lose protections, including the benefit of the automatic stay. »

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. lf you do not list a debt, the debt may not be discharged if you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthfu|, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

if you decide to hle without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successfull you must be familiar with the United States Bankruptcy Code, the Federa| Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that app|y.

Are you aware that Hling for bankruptcy is a serious action with long~term financial and legal
consequences?

n No
a Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

n No
a Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
a No

Ei Yes. Name of Person .
Attach Bankruptcy Petition Preparer’s Notice, Dec/aration, and Signature (Official Form 119).

 

By signing here, l acknowledge that l understand the risks involved in filing without an attorney. l
have read and understood this notice, and l am aware that n|ing a bankruptcy case without an
attorney may cause me to lose my rights or property if l do not properly handle the case.

x\§\/i\i\\J/"§FMXN/A

 

 

 

 

 

 

Signature of Debtor 1 \` Signature of Debtor 2
gate 04/30/2019 gate
MM/DD /YYYY MM/ DD/YYYV
Contact phone Q19) 973"51 17 Contact phone
cell phone (219) 973-5117 cell phone
Email address nriChardQG@gma"-Com Email address

 

 

 

nff`lr‘.ial Fnrm 101 anuntarv Pnfifinn fnr individuals Filinn fnr Rankrllntr_v nanQ R

i

 

Case 19-21192-jra Doc 1 Filed 04/30/19

Fil| in this information to identify your case:

 

mwa Richard C Neely Jr

 

 

Flrst Name Middle Name Last Name
Debtorz N/A
(Spou$e, if filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe: Northern District Of |ndiana

Case number
(lt known)

 

 

Officia| Form iOGSum

 

Page 8 of 76

[] Check if this is an
amended filing

Summary of Your Assets and Liabilities and Certain Statistical lnformation 12/15

Be as complete and accurate as possib|e. lf two married people are filing together, both are equally responsible for supplying correct
information. Fi|l out all of your schedules tirst; then complete the information on this form. lf you are filing amended schedules after you Ele

1. Schedule A/B: Property (Official Form 106A/B)
1a. Copy line 55, Total real estate, from Schedule A/B ...............................................

your original forms, you must fill out a new Summary and check the box at the top of this page.

m Summarize Your Assets

 

1b. Copy line 62, Total personal property, from Schedule A/B ..........................................................

tc. Copy line 63, Total of all property on Schedule A/B ....................

 

Summarize Your Liabilities

l

 

2. Schedule D.' Creditors Who Have C/aims Secured by Property (Official Form 106D)

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............

3. Schedule E/F: Creditors Who Have Unsecured Claims (Oft'icial Form 106E/F)

3a. Copy the total claims from Part 1 (priority unsecured ciaims) from line 6e of Schedule E/F .......

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................

m Summarize Your lncome and Expenses

t

4. Schedule l: Your/ncome (Ofiicial Form 106|)

Copy your combined monthly income from line 12 of Schedule I

Your total liabilities

Your assets
Value of what you own

$ 154,430.00

$ 16,219.00

 

 

$ 170,649.00

 

 

Your liabilities
Amount you owe

$ 202,346.00

$ 3,289.00

+ $ 28,563.00

 

 

3 234,198.00

 

 

$ 4,933.66

 

5. Schedule J: Your Expenses (thcial Form 106J)
Copy your monthly expenses from line 220 of Schedule J .....

 

$ 5,065.00

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Debtor1 Richard C Neely Jr Case number (irkmwn)

 

 

First Name Middle Name Last Name

m Answer These Questions for Administrative and Statistical Records

 

6. Are you filing for bankruptcy under Chapters 7, 11, or13?

m No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
~- Yes

 

7. What kind of debt do you have?

¥our debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
familyl or household purpose.” 11 U.S.C. § 101(8). Fill outlines 8-99 for statistical purposes. 28 U.S.C. § 159.

m Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules

 

 

8. From the Statement of Your Current Monthly lncome: Copy your total current monthly income from Ofiicial
Form 122A-1 Line 11; OR, Form 1228 Line 11; OR, Form 122C-1 Line 14. $ 8,115.00

 

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

Total claim
From Part 4 on Schedule E/F, copy the following:

9a. Domestic support obligations (Copy line 6a.) $_.___O_'Y

3,289.00

9b. TaXes and certain other debts you owe the government (Copy line 6b.) $

$ 0.00

9c. C|aims for death or personal injury while you were intoxicated. (Copy line 6c.)

9d. Student loans. (Copy line 6f.) $_____G'M

 

9e. Obligations arising out of a separation agreement or divorce that you did not report as 3 O_O()
priority claims. (Copy line 6g.) "_’___

9f. Debts to pension or pmm-sharing plans, and other similar debts. (Copy line 6h.) + $ O-OO

 

99. Total. Add lines 93 through 9f. 3 3,289-00

 

 

 

 

 

 

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Fiiliin this information to identify your case and this filing:

      

Debtor1 Richard C Neely Jr

   

 

        
 

 

Firsi Name Middie Name Lasi Name
Debtor 2 N/A
(Spouse. if Eiing) First Name Middie Name Lasr Name

     
 

United States Bankruptcy Court for the: Northern District of indiana

  
   
 

Case number

 

ill check if this is an
amended filing

 

Officiai Form 106A/B

 

Schedule A/B: Property wis

in each category, separately list and describe items. List an asset only once. if an asset its in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possibie. if two married people are hiing together, both are equally
responsible for supplying correct information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

Describe Each Residence, Buiiding, Land, or Other Real Estate You Own or Have an lnterest in

1. Do you own or have any legal or equitable interest in any residence, bullding, land, or similar property?

n No. Go to Part 2.
g Yes. Where is the property?

what ts the property? Check au that app'y' Do not deduct secured claims or exemptions Put

13 Single-family home the amount of any secured claims on Schedule D:

1'1_ 1877 BOB|'dWa"( Cil’Cle Creditors Who Have C/aims Secured by Property.

n D m it`- ni 'id`n
Streetaddress,ifavaiiabie.orotherdescription up'ex or u 'u wm l g

 

 

 

 

 

 

 

m CO“dOminiUm Of COOPS\”SUV€ Current value of the Current value of the
. - ' ntire property? portion you own?
debtor S residence L_.l Manufactured or mobile horne e
C] Land $ 154,430.00 $ 154,430.00
n investment property
Portage 'N 46368 [] Timeshare Describe the nature of your ownership
City 3wa Z'P Code cl th interest (such as fee simple, tenancy by
0 er the entireties, or a life estate), if known.
Who has an interest in the property? Check one. fee Simp‘e
porter a Debtor1 only
C°umy a Debtor 2 only
g Debtor1 and Debtor 2 only L_.] Check if this is community property

. t .
a At least one of the debtors and another (See ms rucu°ns)

Other information you wish to add about this item, such as local
property identification number: - - - - -
if you own or have more than one, list here:

‘ o
What ls the property ' Check an mm apply` Do not deduct secured claims or exemptions Put
n Single-family home the amount of any secured claims on Schedule D:

 

 

 

 

1.2. n Dup'ex or muni_unit building Creditors Who Have Claims Secured by Pmpeity.
Street address. if availabie, or other description _ _ '
n C°“d°ml"'um °l C°°Perat"/B Current value of the Current value of the
a Manuiactured or mobile horne entire property? portion you own?
n Land $ $
n investment property
g Timeshare Describe the nature of your ownership
City State ZlP Code interest (such as fee simple, tenancy by
n ether the entireties, or a life estate), if known.

 

Who has an interest in the property? Check one,
cl Debtor1 only
n Debtor 2 only

m Debtor1 and Debtor 2 0an n Check if this is community property
m At least one of the debtors and another (See inSfrUCiiGHS)

 

 

County

Other information you wish to add about this item, such as local
property identification number:

 

Debtor 1

1.3.

2. Add the dollar value of the portion you own for ali of your entries from Part 1, including any entries for pages
you have attached for Part 1. Write that number here. ..... . ................................................................................ 9

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Richard C Neely Jr

 

First Name Middie Name

Last Name

 

Street address, if availabie. or other description

 

 

city siaie

ZlP Code

 

County

Describe Your Vehicles

Do you own, iease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles
you own that someone else drives. if you lease a vehicie, also report it on Schedule G: Executory Contracts and Unexpired Leases.

What is the property? Check all that appiy.
L_.] Single-family home

n Dupiex or muiti-unit building

a Condominium or cooperative

n Manufactured or mobile home

L_..l Land

n investment property

m 'i”imeshare

a Other

 

Who has an interest in the property? Check one,
n Debtor1 only

a Debtor 2 only

m Debtor 1 and Debtor 2 only

n At least one of the debtors and another

Case number (irkmiwn)

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have C/alms Secured by Properly.

Current value of the Current value of the `
entire property? portion you own?

$ $

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

n Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

[] No
3 Yes
3_1' Make: Nissan
Modei: A|tima
Year: 2006
245000

if you own or have more than one, describe here:

3.2.

Approximate mileage:
Other information:
2006 Nissan A|tima

 

 

 

 

 

Make: Chevrolet
Modei: Charger
Yea r: 201 3
Approximate mileage: 80000
Other information:

2013 Chevrolet Charger

 

 

 

Who has an interest in the property? Check one.

3 Debtor1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

[.] At least one of the debtors and another

n Check if this is community property (see
instructions)

Who has an interest in the property? Check one,

a Debtor1 only

m Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

cl Check if this is community property (see
instructions)

 

$ 154,430.00

 

 

 

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Ciaims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ 315.00 $ 315.00

 

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Prapeny.

Current value of the Current value of the
entire property? portion you own?

$ 11,455.00 $ 11,455.00 g

 

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Who has an interest in the property? Check one,

2 At least one of the debtors and another

a Check if this is community property (see

Who has an interest in the property? Check one,

Debtor1 Richard C Neely Jr
Flrsl Name Middie Name
3.3. Make: Chevrolet
Modei: Maiibu n Debtor 1 only
year 2012 m Debtor 2 only
' ____90000 El Debtor1 and Debtor 2 oniy
Approximate mileage:
Other information:
instructions)
3.4. Make:
Modei: n Debtor1 only
Year. cl Debtor 2 only

Approximate mileage:

Other information:

 

 

 

 

a Debtor 1 and Debtor 2 only
n At least one of the debtors and another

13 Check if this is community property (see
instructions)

Case number (irknown)

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Credi!ors Who Have Ciaims Secured by Properiy.

Current value of the Current value of the
entire property? portion you own?

$ 3,685.00 3 1,843.00

 

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have C/ai'ms Secured by Pmperty.

Current value of the Current value of the
entire property? portion you own?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examp/es: Boats, trailersl motors, personal watercraft. fishing vesseis, snowmobiies, motorcycle accessories

a No
n Yes

4_1_ Make:
Modei:
Year:

Other information:

 

 

 

 

if you own or have more than one, list here:

4_2_ Make:
Modei:

 

Yeai“.

Other information:

 

 

 

 

g 5. Add the dollar value of the portion you own for all of your entries from Fart 2, including any entries for pages
you have attached for Part 2. Write that number here

Who has an interest in the property? Check one.
n Debtor1 only

a Debtor 2 only

m Debtor1 and Debtor 2 only

m At least one of the debtors and another

n Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
a Debtor1 only

m Debtor 2 only

a Debtor 1 and Debtor 2 only

n At least one of the debtors and another

a Check if this is community property (see
instructions)

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Credr'tors Who Have Clalms Secured by Pmperty.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Pmperiy.

Current value of the Current value of the
entire property? portion you own?

13,613.00

 

 

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Debtor1 Richard C Neely Jr Case number (irknown)
Firist Name Middle Name Last Name

m Describe Your Personal and Househoid items

Do you own or have any legal or equitable interest in any of the following items?

 

 

Current value of the
portion you own?
Do not deduct secured claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

or exemptions
` 6. Household goods and furnishings
Examples: Major appliances, fumiture, linens, china, kitchenware
m No _ _
Yes_ Describe _________ headboard/footboard/raiis, dressers, mirror, washer/dryer, stove/refrig, sofa $ 1,050_00
rugs, microwave, food, iawnmower, gardening toois, iron at used store value __"’°“"'“"'"
7. Eiectronics
Examp/es: Teievisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media piayers, games
cl No
Yes. Describe .......... 5 televisions, home computer, cell phones at pawn shop value used $ 650,00
l 8. Coliectib|es of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coinl or baseball card coilections; other coilections, memorabiiia, coilectib|es
ij No
Yes. Describe .......... family pictures( no cash value) $ 0.00
9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments
No
n Yes. Describe .......... $ 0.00
` 10.Firearms
Examples: Pistois, rifles, shotguns, ammunition, and related equipment
No
m Yes. Describe .......... 3 0.00
11.Ciothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
n No _
yes_ Describe __________ normal wearing apparel at used store value work clothes at used store value $ 600_00
` 12.Jeweiry
Exampies: Everydayjewelry, costume jewelry, engagement rings, wedding rings, heirioom jewelry, watches, gems,
gold, silver
n N° 125 00
y 2 Yes‘ Des°"be """""" watch, weddinq band( Aibert's Jewelers) at pawn shop value used $___~_~__~'_
: 13.Non-farm animals
Examples: Dogs, cats, birds, horses
l:l No
2 Yes. Describe ........... _ 0-00
family pet(doq) no cash value $“"_'_-'~_~'__
14.Any other personal and household items you did not already iist, including any health aids you did not list
l:] No
a Yes. Give specific _ $ 35_0()
information .............. vacuum at yard sale price _____________

 

 

 

g 15. Add the dollar value of ali of your entries from Part 3, including any entries for pages you have attached $ 2 460_00

 

 

 

for Part 3. Write that number here

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Debtor1 Richard C Neely Jr

Case number (ifknown)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Fust Name Middle Name Lasl Name
Describe \’our Financiai Assets
Do you own or have any legal or equitable interest in any of the following? ¢ul’f€nf Value °f the
portion you own?
Dc not deduct secured claims
or exemptions
g 16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you tile your petition
El No
iZ Yes cash: ................... $ 75-00
17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions if you have multiple accounts with the same institution, list each.
n No
M Yes ..................... institution name:
17'1_ Checking account Fifth Third Bank $ 50.00
172. Checking account $
17,3. Savings account $
17.4. Savings account: 3
17.5. Certiticates of deposit 5
17.6. Other inancial account $
17.7. Other Enancial account: $
17.8. Other Hnancia| accounts $
17.9. Other financial account: $
18.Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts
a No
n Yes ................. Institution or issuer name:
t 19. Non-pubiicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC. partnershlp, and joint venture
No Name of entity: % of ownership:
El ¥es. Give specific O°/a % $
information about O°/
them ......................... 0 % __________________.
o
0/° % $

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Debtor1 Richard C Neely Jr Case number (ir/<nown)
First Name Middie Name Last Name

 

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers` checks, promissory notes, and money orders.
Non-negotiab/e instruments are those you cannot transfer to someone by signing or delivering ihem.

ZNo

n ¥es. Give specific issuer namef
information about
them ....................... $

 

 

 

: 21. Retirement or pension accounts
Examples: lnterests in lRA. ER|SA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

cl No
Yes. List each
account separateiy. Type of accounts institution name:
401(k) or similar pian: $
Pension pian: $
lRA; $
Re,i,emem amount United States Steel Workers Pension (unknown) $
Keogh: $
Additionai account $
Additionai account $
22.Security deposits and prepayments

Your share of ali unused deposits you have made so that you may continue service or use from a company

Examples: Agreements with landiords, prepaid rent, public utilities (electric, gas, water), telecommunications

companies or others

a No

n Yes .......................... institution name or individual:
Eiectric: $
Gas: 5
Heating oii: $
Security deposit on rental unit: $
Prepaid rent: $
Teiephone: $
Water: $
Rented fumiture: $
Other. $

 

23.Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
a No

m Yes .......................... issuer name and description:

 

 

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Debtor1 Richard C Neely Jr

First Name Middie Name Last Name

Case number (/rknawn)

 

24.interests in an education lRA, in an account in a qualified ABLE prcgram, or under a qualified state tuition program.

26 u.s.c. §§ 530(b)(1). 529A(b), and 529(b)(1).
No
n Yes ....................................

institution name and description Separate|y file the records of any interests.11 U.S.C. § 521(0):

 

 

 

25.Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

-No

 

a Yes. Give specific
information about them....

 

 

 

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: intemet domain names, websites, proceeds from royalties and licensing agreements

-No

 

n Yes. Give specinc
information about them....

 

 

 

, 27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association hoidings, liquor iicenses, professional licenses

-No

 

[:l Yes. Give specific
information about them....

 

 

 

Money or property owed to you?

28.Tax refunds owed to you

 

m No

a Yes. Give specihc information 2018 tax refund Federak
about them, including whether
you already filed the returns State:
and the tax years. ....................... Loca|_

 

 

 

29. Fami|y support

Examples: Past due or lump sum aiimony, spousal support child support, maintenance, divorce settlement property settlement

ZNo

n Yes. Give specific information ..............

 

Aiimony:
Maintenance:
Support:

Divorce settlement

Property settlement

 

 

 

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation
Social Security benefits; unpaid loans you made to someone else

-No

 

a Yes. Give specific information ...............

 

 

 

Current value of the
portion you own?
Do not deduct secured
claims or exemptions

21 .OO

WU?UEB€D

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Debtor1 Richard C Neely Jr Case number (irkmwn)
Firsi Name Mlddie Name Last Name

 

 

31 . interests in insurance policies
Examples: Heaith, disability, or life insurance; health savings account (HSA); credit homeowner’s, or renter‘s insurance

.No

El Yes. Name the insurance company

_ _ _ . Company namer Beneficiary: Surrender or refund value:
of each policy and list its value.

 

 

32. Any interest in property that is due you from someone who has died

if you are the beneficiary of a living trust, expect proceeds from a life insurance pciicy, or are currently entitled to receive
property because someone has died.

ENo

n Yes. Give specific information ..............

 

 

 

 

33. Ciaims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance ciaims, or rights to sue

ENo

C] Yes. Describe each ciaim. ....................

 

 

 

 

34. other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

ENo

L_.] Yes. Describe each claim. ....................

 

 

 

 

35.Any financial assets you did not already list

BNo

L_.l Yes. Give specific information ............ s

 

 

 

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached

for Part 4. Write that number here 9 5 146.00

 

 

 

 

Describe Any Business-Reiated Froperty You own or Have an interest ln. List any real estate in Part 1.

 

: 37.Do you own or have any legal or equitable interest in any business-related property?
2 No. co to Part 6.
n Yes. Go to line 38.

Current value of the
portion you own?

Do not deduct secured claims

 

or exemptions
38.Accounts receivable or commissions you already earned
M No
n Yes. Describe .......
$

 

 

 

` 39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, iax machines, rugs, telephonesv desks, chairs, electronic devices

a No
i:l Yes. Describe .......

 

_._g§___

 

 

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Debtor1 Richard C Neely Jr Case number (iiimawni
First Name Middle Name Lasl Name

 

 

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

g No
[;] Yes. Describe ....... iP

 

 

41.lnventory
a No
ij Yes. Describe ....... $

 

 

 

 

f 42.lnterests in partnerships or joint ventures

g No

m Yes' Describe """" Name of entity: % of ownership:
% $
%
% $

99

g 43. Customer lists, mailing lists, or other compilations
ia No
i:.l Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
n No
m Yes. Describe ........

 

 

 

 

44.Any business-related property you did not already list
la No

n Yes. Give specific
information .........

 

 

 

 

W€D€BH%G)

 

 

63

 

 

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ ()_OO
for Part 5. Write that number here ') `°‘°°°°_°_"““’_'""`

 

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property you Own or Have an interest ln.
if you own or have an interest in farmland, list it in Part1.

 

 

_ 46. Do you own or have any legal or equitable interest in any farm- or commercial fishing~reiated property?
g No. Go to Part 7.
i:l Yes. Go to line 47.
Current value of the
portion you own?

Do not deduct secured claims
or exemptions

, 47. Farm animals
Examples: Livestocl<, poultry, tenn-raised fish

a No
n Yes ..........................

 

 

 

 

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Debtor1 Richard C Neely Jr

Firsl Name Middle Name Last Name

Case number (irknawn)

 

48.Crops-either growing or harvested

ENo

n Yes. Give specilic
information ............. $

 

 

y 49. Farm and fishing equipment, implements, machinery, tixtures, and tools of trade
No
n Yes ..........................

 

 

 

 

 

50.Farm and fishing supplies, chemicals, and feed
No
n Yes ..........................

 

 

 

51.Any farm- and commercial fishing-related property you did not already list
m No

m Yes. Give specific
information ............. $

 

 

 

 

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ 0.00
` for Part 6. Write that number here 9 “°"`°`_'°_“"`“`°”_"

 

 

 

Describe Ail Property You Own or Have an interest in That You Did Not List Above

 

` 53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

ZNO

n Yes. Give specific
lnformation. ............

 

 

 

 

 

$ 0.00

 

54.Add the dollar value of all of your entries from Part 7. Write that number here 9

 

 

List the Totals of Each Part of this Form

 

55. Part 1: Total real estate, line 2

 

_) $ 154,430.00

 

: 56. Part 2: Total vehicles, line 5 $ 13’613'00
57.Parl 3: Total personal and household items, line 15 $ 2’460'00
58. Part 4: Total iinancial assets, line 36 $ 146'00
59. Part 5: Total business-related property, line 45 $ 0'00
60. Part 6: Total farm- and fishing-related property, line 52 $ 0'00
61.Part 7: Total other property not listed, line 54 + $ O-OO
` 62.Total personal property. Add lines 56 through 61 . .................... $ 16’219‘00 Copy personal property total 9 + $ 16»219-00

 

 

 

 

 

63.Tolal of all property on Schedule A/B. Add line 55 + line 62. $M

 

 

 

 

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Fill in this information to identify your casey l

    

Debtor1 Richard C Neely Jr

   

 

    

 

Firsl Name Middle Name Last Name
Debtor 2 N/A
(Spoll$€, if filing) First Name Middie Name Last Name

    
    
 

United States Bankruptcy Court for the:NOrlhem District Of indiana

 
 

Case number

El check ii this is an
(lf known)

amended ming

 

 
 

 

Ochial Form 1060
Schedule C: The property ¥ou Claim as Exempt 04/19

 

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct iniormation.

Using the property you listed on Schedule A/B: Propeity (Official Form 106A/B) as your source, list the property that you claim as exempt. if more
space is needed, fill out and attach to this page as many copies of Part 2: Additionai Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you clalm. One way of doing so is to state a
specific dollar amount as exempt. Altemativeiy, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory ilmit. Some exemptions-such as those for health aids, rights to receive certain benefitsl and tax-exempt
retirement funds-may be unlimited in dollar amount. However, if you claim an exemption of100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

identify the Property ¥ou Claim as Exempt

 

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you,

M You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(b)(3)
n You are claiming federal exemptions 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption

 

 

 

 

 

 

 

Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption
Schedule A/B
§§§;,ipuom 1877 Boardwaii< cir $154,430.00 a $ 15,000.00 34'55'1°'2(°)(1)
Line from m 100% of fair market value, up to
Schedule A/B: 1.1 any applicable statutory limit
§§§;ripuon_ 2006 Nissan Anima $315.00 n $ 1,000.00 34'55'10'2(°)(2)
- l 100% of fair market value, up to `
§g:ef;¢:'/: A/B_. -3-3_- 7 7 any applicable statutory limit 7
§§§;ripuom household furnishing $1,050.00 13 $ 1,050.00 34‘55°10’2(°)(2)
Line from 100% of fair market value, up to `

 

Schedule A/B_- _5______ any applicable statutory limit

3. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

g No

n Yes. Did you acquire the property covered by the exemption within 1,215 days before you i|ed this case?
n No
D Yes

Debtor 1

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Richard C Neely Jr

 

Flist Name

Middia NamB

Additionai Page

Brief description of the property and line
on Schedule A/B that lists this property

Brief
description:

Line from

Schedule A/B:

Brief
description:
Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description;
Line from

Schedule A/B:

Brief
description:
Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B.'

Brief
description:
Line from

Schedule A/B.'

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Last Name

Current value of the
portion you own

Case number (iiknawni

Amount of the exemption you claim

Check only one box for each exemption

 

 

9 100% affair market vaiue, up to
any applicable statutory limit

 

a 100% of fair market value, up to

 

g 100% of fair market value, up to

 

g 100% of fair market value, up to

 

la 100% of fair market value, up to

 

la 100% of fair market value. up to

 

 

g 100% of fair market value, up to

 

a 100% of fair market value, up to

 

m 100% of fair market value, up to

 

n 100% of fair market value, up to

 

 

0 100% of fair market value, up to

Copy the value from
Schedule A/B
electronics $ 650.00 [J $ 650.00
_7_____
… s 600.00 C| $ 600.00
_U__,___ any applicable statutory limit
iewei[y $ 125.00 g $ 125.00
~1-2--- any applicable statutory limit
other personal prop 5 35.00 g $ 35.00
1 4
__°"" any applicable statutory limit
cash in wallet $ 75.00 ij $ 75.00
_j_€____ any applicable statutory limit
Fifth Third Bank $ 50.00 i_~_] $ 50.00
11£~ any applicable statutory limit
US Steel pension 3 g $
21 . . .
'~"'~" any applicable statutory limit
$ ill $
any applicable statutory limit
$ El s
-_-- any applicable statutory limit
$ El $
°__ any applicable statutory limit
$ El s
any applicable statutory limit
$ L'.`l $

 

m 100% of fair market value, up to
any applicable statutory limit

Speclfic laws that allow exemption

34~55-10-2(¢)(2)

 

34-55-10-2(¢)(2)

 

34-55-10-2(¢)(2)

 

34-55-10-2(0)(2)

 

734-55-10-;2(¢)(3) '

 

34-55-10-2(¢)(3)

 

34-55-10-2-(¢)(6)

 

 

 

 

 

 

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Fi|l in this information to identify your case:

Richard C Neely Jr

First Name

Debtor 2 N/A

(Spouse, if t'ilirig) First Name

Debtor 1

 

Middle Name Last Name

 

Middle Name Last Name
United States Bankruptcy Court for the: NOi‘them District Of indiana

Case number
(lf known)

 

 

 

Official Form 106D

 

Schedule D: Creditors Who Have Claims Secured by Property

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m Check if this is an
amended filing

12/15

Be as complete and accurate as possib|e. lf two married people are Filing together, both are equally responsible for supplying correct
information. |f more space is needed, copy the Additionai Page, fill it out, number the entries, and attach it to this form. On the top of any

additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?

n No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

g Yes. Fi|l in all of the information below.

m List Aii secured ciaims

 

g 2. List all secured claims. lf a creditor has more than one secured claim, list the creditor separately
for each claim. lf more than one creditor has a particular claim, list the other creditors in Part 2.
As much as possible, list the claims in alphabetical order according to the creditor’s name.

§ Chase l\/lortgage

Describe the property that secures the claim:

 

Column A Column B Column C `
Amount of claim Value of collateral Unsecured
Do riot deduct the that`$upp°"t$ this P°"fi°"
value of collateral. Claim lf any

$ 168,809.00 $ 154,430.00 $14,379.00

 

 

Creditor`s Name

301 N Walnut St Floor 09 1877 Boardwalk Circle ( debtor's residence)

Portage lN 46368

 

 

 

 

 

 

Number Street
As of the date you Ele, the claim is: Check all that apply.
n Contingent

Wlimll"lg'[Ol’l DE 19801 n Unliquidated

City Smte ZlP Code

n Disputed

WhO Owes the debf? Check On€~ Nature of |ien. Check all that apply.

Debtor1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

g Ari agreement you made (such as mortgage or secured
car loan)

n Statutcry lien (such as tax lien, mechanic's lien)
n Judgment lien from a lawsuit
n Other (including a right to offset)

ij UUU§

Check if this claim relates to a
community debt

Date debt was incurred 09/21/2012 Last 4 digits of account number_

 

 

 

 

 

 

 

 

 

 

 

 

_`v* n'\\ziur~r'\:r\n*rvv c

 

“_”v* vn\;o\\n\,~\.'r.“`an'\zu\\vru_in'nv'rl \.nr\;~v rul n re

y Carmax Aufg Finance Describe the property that secures the claim: $ 111614~00 $ 1»843-00 $ 9,771-00
Creditor‘s Name .
225 Chastain Meadow Ct 2012 Chevrolet l\/lalibu LT
Number Street
As of the date you tile, the claim is: Check all that apply.
m Contingent
Kennesaw GA 30144 [;l Uniiquidaied
City Slaf€ ZlP Code m Disputed
Who OWeS the debf? Check 0“€~ Nature of lien, Check all that apply.
n Debtor 1 only E An agreement you made (such as mortgage or secured
n Debtor 2 only Car loan)
n Debtor 1 and Debtor 2 only n Statutory lien (such as tax lien, mechanic's lien)
g At least one of the debtors and another n JUdgmenf lien from 3 lawsuit
El other (inciuding a right io arisen
n Check if this claim relates to a
community debt c
Date debt was incurred 08/14/201‘- Last 4 digits of account number_2 _O _9 _8
Add the dollar value of your entries in Column A on this page. Write that number here: $M|

 

 

'W~vy»'v

nn ~,

yu\_.,\, i vi

 

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Richard C Neely Jr

 

 

 

Debtor1 Case number (irknawn)
First Name Middle Name Last Name
Additionai Page ColumnA \ ` `Columri B Column`C y
. . . . . . . . Am t f ` ' ll I '
Part 1~ After listing any entries on this page, number them beginning with 2.3, followed Do :;:';ed°u;l::` g‘aal;]::;;:n:tt;: ::rst?::red
by 2'4’ and so forth value of collateral. Cia`im ` lf any

 

5- Wells Fargo Dealer Service

 

Creditor's Name

i
§ P O BOX 10709

Describe the property that secures the claim:

$ 16,254.00 $

11,455.00 $ 4,799.00

 

 

 

 

2013 Dodge Charger

 

 

 

 

Number Street
Raleigh NC 27605
City State ZlP Code

Who owes the debt? Check one.

Debtor1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

l`_`l DUUEJ

Check if this claim relates to a
community debt

Date debt was incurred 09/18/2014

As of the date you file, the claim is: Check all that apply.
m Contingent

C] unliquidated

cl Disputed

Nature of lien. Check all that apply.

An agreement you made (such as mortgage or secured
car loan)

Statutory lien (such as tax lien, mechanic’s lien)
Judgment lien from a lawsuit
Other (including a right to offset)

UUD

_2£

Last 4 digits of account number _6_

 

l indiana American Water

 

 

Credilor‘s Name

Describe the property that secures the claim:

$ 350.00 $

0.00 $ 0.00

 

 

 

 

1877 Boardwalk Circle (debtor's residence)

 

 

 

 

P O Box 3027
Number Street
l\/lilwaukee Wl 53201
City State ZlP Code

Who owes the debt? Check one.

Debtor 1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

Cl UUE|H

Check if this claim relates to a
community debt

Date debt was incurred 04/29/201‘€'

As of the date you file, the claim is: Check all that apply.
n Contingent

Cl uniiquidaied

m Disputed

Nature of lien. Check all that apply.

a An agreement you made (such as mortgage or secured
car loan)

[:l Statutory lien (such as tax lien, mechanic's lien)

m Judgment lien from a lawsuit _

m Other (including a right to offset) Cred‘t use

Last 4 digits of account number _7_ ___9_ § §

 

__J Progessive Leasing

 

Describe the property that secures the claim:

$ 4,575.00 $

500.00 $ 4,075.00

 

 

 

 

headboard, footboard, rails, dressers,
mirror

 

 

 

 

Creditor‘s Name

256 Data Dr

Number Street

Draper UT 84020
City Stale ZlP Code

Who owes the debt? Check one.

Debtor 1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

IJ UUUE

Check if this claim relates to a
community debt

Date debt was incurred

As of the date you file, the claim is: Check all that apply.
m Contingent

El uniiquidated

m Disputed

Nature of lien. Check all that apply.

m An agreement you made (such as mortgage or secured
car loan)

n Statutory lien (such as tax lien, mechanic's lien)

C] Judgment lien from a lawsuit _

w Other (including a right to offset) Cred't use

Last 4 digits of account number_4; __‘_1'_ __Q_ ___4;

Add the dollar value of your entries in Column A on this page. Write that number here:

 

§ |f this is the last page of your form, add the dollar value totals from all pages.
l

v......t.. Wm#.i~ ieoe,»---»\~-- »-~-~, tw.t.\...... . age .,. .,-..w...., ... ...\....t.,.s ...._, ......, e......._. .....,t.

$ 21,179.00

 

 

 

$... .., . ...,,...t,

yuvv vi

 

 

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Richard C Neely Jr

Middie Name

Debtor 1

 

Hrst Name Last Name

Case number (i/knawn)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Creditor‘s Name

Additippal page Column A § Column B § Column C
. . . . . . . Amount of claim ` Value of collateral ` Unsecured
Cfter‘llisting anfy entries on this page, number them beginning with 2.3, followed 00 not deduct the , that sppppns this portion
y 2' ’ and so °rth' value of collateral Ciaim if any § ,
- POl"[€l' County TFBGSUI’€|' Describe the property that secures the claim: $ 348‘00 $ O'OO $ 0'00
i Creditor's Name
§ 155 indiana Ave Rm 209 64-05-01-453-003.-000-016
§ Number Street
As of the date you t"iie, the claim is: Check all that apply.
Valparaiso lN 46383 El contingent
ciiy siaie ziP code Ci Uniiquidated
m Disputed
Who Owes the debt? Check orie. Nature or lien. check an mar appiy.
ap Debtor1 Only n An agreement you made (such as mortgage or secured
Ci Debtor 2 only car loan)
C| Deb[or 1 and Debtor 2 only m Statutory lien (such as tax lien, mechanic's lien)
m At least one of the debtors and another n Judgment lien from a lawsuit .
m Other (including a right to offset) Credlt use
n Check if this claim relates to a
community debt
Date debt was incurred 12/31/201 l Last 4 digits of account number_g__ _3 _8_ §
___I Viliage Ca|”pet & Tile, ||'iC Describe the property that secures the claim: $ 396'00 $ O'OO $ O'OO
Creditor‘s Name
5991 Central Avenue Carpeted Stairs
Number Street
As of the date you file, the claim is: Check all that apply.
n Contingent
POVtaQ@ |N 46358 El uniiquidaied
city state ziP code n Disppted
Who owes the debt? Check one' Nature of lien. Check all that apply.
M Debtor1 °nly m An agreement you made (such as mortgage or secured
n Debtor 2 only car loan)
n Debtor 1 and Debtor 2 Only n Statutory lien (such as tax lien, mechanic's lien)
n At least one of the debtors and another 0 Judgment lien from a lawsuit d_
. . . cre it use
n Check if this claim relates to a a Other (mcludmg a nght to offset)
community debt
Date debt was incurred Last 4 digits of account number l _3_ § _8_
.__| Describe the property that secures the claim: $ $ $

 

 

 

Number Street

 

 

 

 

 

City State ZlP Code

Who owes the debt? Check one.

Debtor1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

l:i UUUU

Check if this claim relates to a
community debt

Date debt was incurred

 

Add the dollar value of your entries in Column A on this page. Write that number here: s

if this is the last page of your form, add the dollar value totals from all pages.

V......... mims ieoi»,-----~- ¢-»-~-. mc..~..c. . age c. ....,...,..\.... ... _...,...._.... ...... ......, .........., _W..

As of the date you file, the claim is: Check all that apply.
m Contingent

El uniiquidaied

n Disputed

Nature of lien. Check all that apply.

cl An agreement you made (such as mortgage or secured
car loan)

Statutory lien (such as tax lien, mechanic's lien)
Judgment lien from a lawsuit

Other (including a right to offset)

UUU

Last 4 digits of account number__

 

744.00
202,346.00

n u, l .vyvn`,

 

 

 

yuvv vi

 

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Debtor1 Richard C Neely Jr Case number (irknown)

Hrst Name Midd|e Name Last Name

 

 

m List others to Be Notified for a oebt That You Aiready Listed

 

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection

§ agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
j you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. lf you do not have additional persons to
; be notified for any debts iri Part1, do not fill out or submit this page.

CarMaX Auto Finance On which line in Part 1 did you enter the creditor? 22
Name Last 4 digits of account number__; _Q § _8_
12800 Tuckahoe Creek Pkwy

Number Street

 

 

 

Richmond VA 23238
City State ZlP Code

 

 

§_| Chase Mongage On which line in Part1 did you enter the creditor? 2»1

 

Name Last 4 digits of account number_5 _Z_ _4 __6_
700 Kansas Lane

Number Street

 

 

l\/lonroe LA 71203
City State ZlP Code

 

 

|3_§ Darvin Fumiture Ori which line in Part1 did you enter the creditor? 2-5

 

Name Last 4 digits of account number_4~ _i _O i

15400 S LaGrange Rd

Number Street

 

 

Orland Park lL 60462
City State ZlP Code

 

 

§§ Thomas C Higgins p_C_ On which line in Part1 did you enter the creditor? 2-7
Name Last 4 digits of account number_V_ l C l

205 East Jefferson Street ~ _

Number Street

 

 

 

Valparaiso lN 46383
city stare ziP code b

 

 

|_5:_§ Wells Fargo Dealer Service/ WACH DLS On which line in Part1 did you enter the creditor? 2-3
Name Last 4 digits of account number_6 _3_ _2_ _l

1 Montgomery St 2nd F|

Number Street

 

 

 

San Francisco CA 94104
City State ZlP Code

 

 

§ On which line in Part1 did you enter the creditor?

 

Name Last 4 digits of account number _

 

Number Street

 

 

City State ZlP Code

 

 

\Jl|lbldl l'UIIII lUUlJ l_GlL L Ul °\¢Iluuul¢= lJ- Ulcullul° "Il\) rlde \lldllll§ \J¢\¢LII\=\-I lly FlU|JWl ly pds¢ ' Ul '

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Fill in this information to identify your case:

Richard C Neely Jr

Fi|'Si Name

Debtor 2 N/A

(Spouse. if tiling) Firsi Name

Debtor 1

 

Mi'ddle Name Last Name

 

Middle Name Last Name
United States Bankruptcy Court for the: Northern District of indiana

Case number
(lf known)

 

Cl cheek irihis is en
amended filing

 

 

Officia| Form 106E/F

 

Schedule E/F: Creditors Who Have Unsecured Claims

12/15

 

Be as complete and accurate as possibie. Use Part 1 for creditors with PRlORlTY claims and Part 2 for creditors with NONPRlORlTY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim, Also list executory contracts on Schedule
A/B: Property (Officia| Form 106AlB) and on Schedule G: Executory Contracts and Unexpi'red Leases (OfFicia| Form 1066). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. |f more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the |eft. Attach the Continuation Page to this page, On the top of
any additional pages, write your name and case number (if known).

m List All of Your PRlORlTY Unsecured Claims

"1.

 

Do any creditors have priority unsecured claims against you?

Cl No. co to Part 2.

 

 

 

 

 

 

 

 

 

g Yes.

2. List all of your priority unsecured claims. if a creditor has more than one priority unsecured claim, list the creditor separately for each claim, For
each claim listed, identify what type of claim it is. if a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possib|e, list the claims in alphabetical order according to the creditor’s name. if you have more than two priority
unsecured claims, till out the Continuation Page of Part 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.) w § y y
Total claim Priority Nonpriority `
` _ amount amount
2.1 .
indiana Department of Revenue Lasi4digiis ofaeeoum number 2 3 8 8 $M $~____Q.D_Q $__3_4_&.0_0
Priority Creditor's Name __ ___ _ _
100 N Senate Ave Room N105 when was the debt incurred? 12/31/2017
Number Street
_ _ As of the date you file, the claim is: Check all that apply.
indianapolis lN 46204 n C t. t
ciiy state zip code °" mge"
_ m Unliquidated
Who incurred the debt? Check one, a Disputed
Debtor1 only
Ei Debtor2 only Type of PRlORlTY unsecured claim:
§ Debtor 1 and Debtor 2 °n|y n Domestic support obligations
At least one cf the debtors and another g Taxes and certain other debts you owe the government
n Check 'f th's cla'm ls for a community debt n Claims for death or personal injury while you were
is the claim subject to offset? ‘"f°’“°ated
ij No El oiher. specify
§ Zi Yes
122 | i. R. S. inSOiVenCy Section Last4 digits of account number __2__ i § l $ 2,941.00 $ 2,941.00 $ 0.00

 

Priority Creditor's Name

 

 

P O Box 7346
Number Street
Phiiade|phia PA 19101
City State ZlP Code

 

Who incurred the debt? Check one,

3 Debtor 1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

Ei At least one of the debtors and another

E] Check if this claim is for a community debt

is the claim subject to offset?
Ci No
Z Yes

 

12/31/2018

When was the debt incurred?

As of the date you file, the claim is: Check all that apply
Ci Contingent

m Unliquidated

i;i Disputed

Type of PRlORlTY unsecured claim:
n Domestic support obligations
a Taxes and certain other debts you owe the government

a Claims for death or personal injury while you were
intoxicated

Ei oiher. specify

 

 

Ulllb`ldl l'Ulll| lUU|:IF

DUH\',‘UU|¢ l:l|‘. bleull.\)lb VV|IU l'ldv\f Ull§!$b'\.ll\':\¢l bldl|lld

pdg\'.‘ l Ui

 

m List All of ¥our NONPRlORlTY Unsecured Claims

ii 3. Do any creditors have nonpriority unsecured claims against you?

§

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Debtor1 Richard C Neely Jr

Case number (ifknewn)

 

First Name Mi'ddle Name Last Name

 

ij No. You have nothing to report in this part. Submit this form to the court with your other schedules

 

 

 

 

 

 

 

 

 

 

 

§ Yes
4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. lf a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. |f more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured
claims fill out the Continuation Page of Part 2.
f ...... .1;<>, zeisia@__; .............
. A|bert's Jewelers/ Albert’s Diamond Jewelers, lnc Last 4 digits of account number _1_ l _§_ l 2 288 00
Nonpriority Creditor's Name $__’____.__'____
711 Main St When was the debt incurred? 04/05/2011
Number Street
Schererville |N 46375
city Siaie zip code As of the date you file, the claim is: Check all that apply.
m Contingent
Who incurred the debt? Check one. [] Unliquidated
M Debtor 1 only n Disputed
a Debtor 2 only
Ci Debtor1 and Debtor 2 only Type of NONPRlORlTY unsecured claim:
§ a At least one of the debtors and another g Student loans
cl Check if this Claim is for a community debt i:i Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
ls the claim subject to offset? |;i Debts to pension or profit-sharing plans, and other similar debts
N° E Other. Specify Credit US€
a ¥es
-2 ATl Physical Therapy/ Ath|etic & Therapeutic inst Last4 digits of account number _9. _4 _2 _1_ 3 250'00
Nonpiioriiy creditors Name When was the debt incurred? 1 /26/2018 - 01/18/2019
4947 Paysphere Circle
Number Street
Chjcago |L 60674 As of the date you file, the claim is: Check all that apply.
city state ziP code n Contingent
Who incurred the debt? Check one. m Unliquidated
a Debtor 1 only m D'sputed
n Debtor 2 only .
n Debtor 1 and Debtor 2 only Type of NONPRlORlTY unsecured claim:
§ n At least one of the debtors and another i;i Student loans
_ _ _ _ _ Ei Obligations arising out of a separation agreement or divorce
m Check if this claim is for a community debt that you did not report as priority claims
ls the Claim subject to offset? i:.i Debts to pension or profit-sharing plans, and other similar debts
a No L_g Other. Specify medical
i;i Yes
4`3 i Capitai O|'l@ Bank USA N.A. Last4 digits of account number __6_ ___2_ _‘l __5_ $ 429_00
Nonpn°my Cred|wfs Name When was the debt incurred? 06/21/2014
P O Box 30285
Number Street
Salt Lake City UT 84130 . .
City mate z|P Code As of the date you t"ile, the claim is. Check all that apply.
` t
Who incurred the debt? Check one. n Ccr?tm_gen
g a Unliquidated
Debtor1 only n Dispufed
i;i Debtor 2 only
m Debtor1 and Debtor 2 only Type of NONPRlORlTY unsecured claim:
n At least one of the debtors and another
i;i Student loans
m Check if this Ciaim is for a COmmUniiy debt i:i Obligations arising out of a separation agreement or divorce
, _ that you did not report as priority claims
Ethe claim subject to offset? Ei Debts to pension or profit-sharing plans, and other similar debts
N° G oiiiei. specify credit use
n Yes
U|'lTCTai`”i'ui iii iuvc/i' o’Ci"ieu\;iie”i:i'rT'Cl“eultoi's"’vv’l'it)*n'ave“Uil$\-:Cureu’i;»'i'ailiid page ___ ui __

 

 

 

 

 

 

 

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Debtor1 Richard C Neely Jr

 

First Name Middle Name Last Name

Case number lirknown)

mYour NONPRlORlTY Unsecured Claims - Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

UlllUldl FUllll l\JUE/l'

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim §
4 - Lt4d"if cb4346
Capital One Bank USA N.A. as '9' s ° a°°°"“ '“"" er ~_ _ __ _ $ 0.00
Nonpriority Creditor's Name
W,, - 04/05/2010
p 0 Box 30285 en was the debt incurred?
Number Street As fine date r‘l th ia‘m 's~ ch i< ii th t i
salt l_el<e city uT 84130 ° y°" ‘e' e ° ' ‘ ' ‘”'° a a app y~
City stale ziP code ill Contingent
El unliquidated
Who incurred the debt? Check one. cl Disputed
a Debtor1 only
D Debtor 2 only Type of NONPRlORlTY unsecured claim:
g Debtor 1 and Debtor 2 only m Student loans
At least one of the debtors and another n Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you d'd not report as pnemy c|?'ms _ _
n Deth to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? M Other_ Specify i‘lOthe O|'lly
[?l No
m Yes _§
_5_| - - 6 1 3 9 0 00
Capital One Bank USA N_A_ Last4 digits of account number ___ _ ___ _ $ .
Nonpriority Creditor's Name
When was the debt incurred? 01/20/2010
P O Box 30285 _`*”_
Number Street
. As of the date ou t“ile, the claim is: Ch k |l th t l .
salt l_el<e city uT 34130 y ec a a app y
City State ZlP Code n Contingent
m Unliquidated
Who incurred the debt? Check one. n Disputed §
m Debtor1 only
Cl Debtor 2 only Type of NONPRlORlTY unsecured claim:
a Debtor 1 and Debtor 2 only m Student loans
n At least one of the debtors and another m Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you md not report as pn°nty C|?lms _ _
a Debts to pension or proHt-shanng plans, and other similar debts
ls the claim subject to offset? [?l oiher. specify notice only
3 No
Cl Yes
6 3 0 0 8 $ 3,345.00
Chase Bank Last 4 digits of account number _ _ ____ _
Nonpriority Creditor's Name
When was the debt incurred?
270 Park Avenue
Number Street
As of the date ou Ele, the claim is: Check all that a l .
New Yorl< NY 10017 y pp y
Ciiy siaie ZlP Code n Contingent
Cl unliquidated
Who incurred the debt? Check one. E\ Disputed
m Debtor1 only
Cl Debtorz only Type of NONPRlORlTY unsecured claim:
n Debtor1 and Debtor 2 only a Student loans
m At least one °f the debtors and another n Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you d'd not report as pnonty c|_a!ms , , l
n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? Oiher_ Specify Credlf US€
M No
l;l Yes
OUl|CUUlb' l:ll‘; bit:ulluld VVHU ndv\': Ullb¢b'\.lldu bldlllld \J`GHU__Ul __

Debtor 1

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Richard C Neely Jr

 

l-“irst Name Middle Name Last Name

Case number (irknawn)

m Your NONPRlORlTY Unsecured Claims - Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim '
7 Last4 di its of account number 2 3 8 8
ChexSystems 9 - _~ _ - $ O-OO
Nonpriority Creditor's Name
Wh h b . d 04/29/2019
7805HudSOanSte1OO enwast ede tlncurre? _
Number Street . . _
Woodbury MN 55125 As of the date you file, the claim is. Check all that apply.
City Siate ZlP Code m Contingent
Cl unliquidated
Who incurred the debt? Check one. n D§Sputed
m Debtor1 only
El Debtor2 only Type of NONPRlORlTY unsecured claim:
g Debtor1 and Debtor 2 only n Student loans
At least one of the debtors and another n Obligations arising out of a separation agreement or divorce that
l:.l Check if this claim is for a community debt you d'd not regan as pmmy c|?'ms _ ,
n Debts to pension or proht-shanng plans, and other similar debts
ls the claim subject to offset? 3 Other_ Specify nOfiCe Ol'lly
E No
cl Yes
_8_| ' ' 2 4 2 4 562 00
Comcast/ X.nnity Last 4 digits of account number _ _ _ _ $ .
Nonpriority Creditor‘s Name
When was the debt incurred? 04/29/2019
P O Box 3002
Number Street
As of the date ou file, the claim is: Check ll th ta l .
Southeastern PA 19398 y a a pp y
City State ZlP Code n Contingent
a Unliquidated
Who incurred the debt? Check one. ij Disputed
3 Debtor1 only
L_.l Debtor2 only Type of NONPRlORlTY unsecured claim:
g Debtor1 and Debtor 2 only a Student loans
At least One of the debtors and another n Obligations arising out of a separation agreement or divorce that
a Check if this claim is for a community debt you d'd not report as pnonty clem-is _ _
m Debts to pension or profit-shaan plans, and other similar debts
ls the claim subject to offset? E Other_ Specify Cfedl't USB
13 No
m Yes
9 l 5 4 9 7 $ 0.00
Credit One Bank Last4 digits of account number _ _ _ _
Nonpriority Creditor's Name
When was the debt incurred? 06/23/2014
F’ O Box 98875
Number Street
As of the date ou file, the claim is: Check all that a l .
Lee vegas N\/ 89193 y "° y
city stale ziP code Cl Contingent
Cl unliquidated
Who incurred the debt? Check one. n Dispmed
m Debtor1 only
n Debtor 2 only Type of NONPRlORlTY unsecured claim:
n Debtor1 and Debtor2 only 0 Studentloans
m At least one of the debtors and another m Obligations arising out of a separation agreement or divorce that
. . . . . did not report as priority claims
El ch k fth l is f em t debt y°”
ec l ls c aim or a c mum y Cl Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? [Q Oiher§ Specify l’lOl[lCe Only
3 No
a Yes
U|l|\.£l`dl l'Ullll lUUl:/l" DUll\‘.'uu|V EI¥`; bl eul|.Ul; VVI|U ndvt¢ Ul|deuul b'u bldllllb page _ Ul ____

Debtor 1

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Richard C Neely Jr

 

First Name Middle Name Last Name

Case number (i/iindwn)

Your NONPRIURlTY Unsecured Claims -- Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim
10
Equifax Last 4 digits of account number 1 l § 8_ $ O_O()§
Nonpriority Creditor‘s Name i
§ W . 04/29/2019 i
P 0 Box 740241 hen was the debt incurred?
Number Street . . _
At|anta GA 303-74 As of the date you t"ile, the claim is. Check all that apply.
City stale ziP code Cl Contingent
_ n Unliquidated
Who incurred the debt? Check one. 0 Disputed
m Debtor 1 only
a Debtor 2 only Type of NONPRlORlTY unsecured claim:
g Debtor1 and Debtor 2 only m Student loans
At least one °f the debtors and another m Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you did not repon as pnomy cl_a'ms , _
n Debts to pension or profit-shaan plans, and other similar debts
ls the claim subject to offset? 3 Other_ Specify notice Oniy
M No
cl Yes
jj - - 2 3 8 a 0 00
Experian Last 4 digits of account number _ __ ___ _ $ .
Nonpriority Creditor's Name
When was the debt incurred? 04/29/2019
P O Box 2002 _“`_
Number Street
As of the date o f”le, the claim is: Ch k ll th t l .
Alien T)< 75013 y “ ' e° a a appy
guy state ziP code U Contingent
D unliquidated
Who incurred the debt? Check one, m Disputed
53 Debtor1 only
n Debtor 2 only Type of NONPRlORlTY unsecured claim:
g Debtor1 and Debtor 2 only m Student loans
At least one of the debtors and another m Obligations arising out of a separation agreement or divorce that
a Check if this claim is for a community debt you did not report as priority C|?|ms _ _
Cl Debts to pension or profit-sharing plans, and other similar debts
y ls the claim subject to offset? E Other_ Specify notice Ol'lly
§ a No
§ n Yes
£I 0 6 5 2 3 154.00
l=irei Natienal credit card civic Last4 °'9'*$ °fa°°°""* ""'“be' _ - _ _
Nonpriority Creditor's Name
When was the debt incurred? 03/22/2015
500 E 60th St N _““'““
i Number Sueei As of the date ou file the claim is' Check all that a l
sioux Falle so 57104 y ' ' ppy‘
City Stale Z|P Code m Contingent
n Unliquidated
Who incurred the debt? Check one. [] Disputed
m Debtor1 only
El Debtor 2 only Type of NoNPRioRiTY unsecured claim:
§ Debtor1 and Debtor 2 only n Student loans
At team one of the debtors and another n Obligations arising out of a separab`on agreement or divorce that
n Check if this claim is for a community debt you d|d not regan as priority delms , ,
n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? E Other_ Specify Cl”edtl’ US€
[‘Zl No
n Yes
UlllUldl I'Ull|l lUUE/l` DUlqul.lld Ell'§ bl¢u|luld VV||U have Ullb\‘,'b'uldu bld|llld tlng __U| ___

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Debtor1 Richard C Neely Jr

 

Flist Name Middle Name Last Name

Case number lirknown)

m Your NONPR|0R|TY Unsecured Claims - Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3 No
m Yes

 

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13~ - - Lt4d"tf tb7305
Flrst Premier Bank/ Premier Bankcard as '9‘ 5 ° a°°°“" '“"“ er _ ___ __ _ $ 770.00
Nonpriority Creditor`s Name _ 05/10/2015
3820 N Loulse Ave When was the debt incurred?
N""’be' aaa A fin d t ri th l ' ' - cn l< ll iii l
Sloux Falls SD 57107 so e aeyou ie, ecaimis. ec a atappy.
City State Z|P Code l;] Contingent
Cl unliquidated
Who incurred the debt? Check one, m Dlsputed
m Debtor1 only
n Debtor 2 only Type of NONPRlORlTY unsecured claim:
g Debtor 1 and Debtor 2 only n Sludenl loans
At least one of the debtors and another m Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you did noi iei_miii as priority Ciaims _ _
n Debts to pension or profit-shaan plans, and other similar debts
ls the claim subject to offset? M Other_ Specify Credif US€
a No
m Yes
l‘li - - 4 6 1 9 0 00
_ First Premier Bank/ Premier Bankcard Last4 d‘g"s °f a°°°""t number _ _ - -~ $ ‘
§ Nonpriority Creditor‘s Name
. When was the debt incurred? 12/09/2009
601 S l\/linnesota Ave _*_'_
Number Street
. Asofthedat t"l,th l` ':Ch k lltht l.
sioux rails so 57104 9 y°" "’ ° ° a"“ 's e° a a my
Cily State ZlP Code a Contingent
n Unliquidated
Who incurred the debt? Check one. cl Dlspuled
m Debtor1 only
l;l Debtor 2 only Type of NONPRlORlTY unsecured claim:
n Debtor 1 and Debtor 2 only a Student loans
n At least one of the debtors ana another m Obligations arising out of a separation agreement or divorce that
a Check if this claim is for a community debt you did riot iei,ioii as priority ciaiiiis _ _
n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? @ Other_ Specify l`|OfiCe Only
m No §
n Yes i
1_51 0 4 3 4 $ 0.00
l-_-SB/ Blaze Credit Card Last4 digits of account number _ _ _ _
Nonpriority Creditors Name
When was the debt incurred? 03/27/2015
500 E 60th St N _
Number Street
. As of the date ou t“ile, the claim is: Check all that a l ,
l sioux l=alie so 57104 y pp y
city state ziP code Cl Contingent
` El unliquidated
Who incurred the debt? Check one, n Dlspuled
a Debtor1 only
l:l Debtor 2 only Type of NONPRlORlTY unsecured claim:
n Debtor1 and Debtor 2 only n Student loanS
m At least one °f the debi°rs and a"°iher m Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you did iiOi iei_ioii as prioiiiy ci,aims _ ,
n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? 3 Other. Specify l'iO'[iCG Ol`lly

 

 

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cull\'»'uulb‘ cll"°. Uleulluld VV|\U ndv\'$ Ullbeuulb'u blulllld

 

page _ ul

Debtor 1

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Richard C Neely Jr

 

Flrst Name Middte Name Last Name

Case number (irknown)

m Your NONPRlORlTY Unsecured Claims - Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

l t §
After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim
16 - l.t4d"tf tb4443 f
Jefferson Capltal System as ‘9‘ s ° a°°°“" '“‘"‘ er _ ___ _ __ $ 378.00
§ Nonpriority Creditor's Name
§ Wh th d ~ d? 08/31/2018 l
_: 16 MCLeland Rd en was e ebtlncurre
Number Street . . . _ r
Salnt Cloud MN 56303 As of the date you file, the claim ls. Check all that apply.
city state ziP code D Contingent
n Unliquidated
Who incurred the debt? Check one. m Dlspuled
m Debtor1 only
n Debtor 2 only Type of NONPRlORlTY unsecured claim:
g Debtor 1 and Debtor 2 only n Student loans
Ar least one er rne debtors end another n Obligations arising out of a separation agreement or divorce that
a Check if this claim is for a community debt you md not rer_mrt as pnomy C|e'ms _ _
L_.l Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? M Other. Specify Cr€dlt US€‘
a No
m Yes 3
ll ~ - 7 9 9 5 771 00
Midland Funding LLC Last4 digits of account number _ __ _ ____ $ .
Nonpriority Creditor's Name
. When was the debt incurred? 04/26/2018
320 East Blg Beaver ~“*_-
Number Street
A fthe date o f`l , the claim is: Ch ck ll th t l .
Troy lvll 48083 S° y “ 'e e a a appy
City state ziP code U Contingent
Cl unliquidated
Who incurred the debt? Check one. m Dlspuled
lz Debtor 1 only
l;l Debtor 2 only Type of NONPRlORlTY unsecured claim:
g Debtor1 and Debtor 2 only n Student loans
Ar least one er the debtors end another n Obligations arising out of a separation agreement or divorce that
U Check if this claim is for a community debt you md nor renon as enemy crews _ _
n Debts to pension or prolit-shanng plans, and other similar debts
ls the claim subject to offset? 3 Other, Specify Cl'edlf USS
3 No
n ¥es
i_Sl 2 5 7 6 $ 25.00
Midwest Orthopaedics at Rush LLC Last4 d'g‘ts °ra°°°“"‘ number - - _ _
Nonpriority Creditofs Name
When was the debt incurred?
P O Box 14099
Number Street
As of the date ou file, the claim is: Check all that a l .
Belfast lle 04915 y p°y
City State ZlP Code l;l Contingent
a Unliquidated
Who incurred the debt? Check one. cl Dlspuled
E Debtor1 only
Cl Debtor 2 only Type of NONPRlORlTY unsecured claim:
m Debtor1 and Debtor 2 only n Student loans
n Ar reeer ene er rne debtors end another a Obligations arising out of a separation agreement or divorce that
. n . . .
n Check if this claim is for a community debt you d|d nor reno as enemy crews _ ,
m Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? 53 Other_ Specify medical
a No
m Yes §
l l
\Jl|lUldl I‘Ullll tUU|:I|' DUll\£uule =Il'; bluulluld lVllU l'l`dVC Ullb%b'ul\':u bldlllld pdgd ___U| _

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Debtor1 Richard C Neely Jr

 

First Name Middle Name Last Name

Case number lirknewn)

mYour NONPRlORlTY Unsecured Claims - Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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19 ' Lt4d"tf tb6601
NCB Managemel'lt S€l’V|CeS l|'lC as lgl s ° a°e°un num er _ - _ _ $ 4,175-00
Nonpriority Creditor's Name
l 1 Allled Dr_ When was the debt incurred? g
Number Street . . _
-l-revose PA 19053 As of the date you file, the claim ls. Check all that apply.
City State ZlP Code n Contingent
n Unliquidated
Who incurred the debt? Check one. m Dlspuled
m Debtor1 only §
l;\ Debtor2 only Type of NONPRlORlTY unsecured claim:
g Debtor1 and Debtor 2 only m Student loans
Al leeel one er lne deblore end another n Obligations arising out of a separation agreement or divorce that
m Check if this claim is for a community debt you ulu nut report as enemy ul_alms _ ,
l;l Debts to pension or profit-shaan plansl and other similar debts
ls the claim subject to offset? E other_ Specify Credll. US€
M No
n Yes
Ll - 0 0 8 5 0
1 NiCaS G Yiannias DDS Last4 digits of account number ___ _ _ ____ $ 1,748.0
Nonpriority Creditor's Name
When was the debt incurred? 03/06/2019
5943 Central Avenue _“-
Number Street
Asfth f`|,th |' ':h lltht .
Por_tage lN 46368 o e date you le e c aim ls C eck a a apply
city state ziP cede Cj Contingent
|;l unliquidated
Who incurred the debt? Check one. m Dlspuled
n Debtor1 only
El center 2 enly Type of NoNPRloRl'rY unsecured claim:
§ Debtor1 and Debtor2 only n Student loans
Al least one er lne deblere end enelner 0 Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you ulu nut reuun as enemy drums _ _
n Debts to pension or profit-sharing plansl and other similar debts
ls the claim subject to offset? 12 Other_ Specify medical
m No
m Yes
21 l 5 4 9 1 $ 3,709.00
OneMain Financial Last 4 digits of account number ___ _ _ ___
Nonpriority Creditor’s Name
When was the debt incurred? 08/13/2015
P O Box 1010
Number Street
~ As of the date ou file, the claim is: Check all that a l .
Evansvllle |N 47706 y pp y
City state ziP code Cl Contingent
Cl unliquidated
Who incurred the debt? Check one. cl Dlspuled
a Debtor1 only
El Debtor 2 only Type of NONPRlORlTY unsecured claim:
g Debtor 1 and Debtor 2 only n Student loans
Al leael ene er lne denlere end enelner m Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you dlu nut reuurt as puouty drums . ,
m Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? 3 Other. Specify Cl'€dll`. US€
13 No
n Yes
Vlllb'l'dl r`Ullll lUUE/l' QUllUUUl!: Ell`. bl\‘»‘ull.Uld VV||U rlde Ul|d\$\iul!$u bl'dlllld pdgd _Ul

 

Debtor 1

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Richard C Neely Jr

 

First Name Middle Name Last Name

Case number (irknown)

MYour NoNPRlORlTY Unsecured Claims - Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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22 ~ - L4d"tf ib2383
Porter Reglona| Hospltal asi '9‘ 5 ° a°°°""' "“"‘ er _ __ __ ~_ $ 60.00
Nonpriority Creditofs Name _ ,l 1/30/2018
85 E US l_llghway 6 When was the debt incurred?
Number Street . . _
Valparalso lN 46383 As of the date you file, the claim is. Check all that apply.
ciiy slate ziP code C| Contingent
n Unliquidated
Who incurred the debt? Check one. n Dlspuled
m Debtor1 only
n Debtor 2 only Type of NONPRlORlTY unsecured claim:
g Debtor1 and Debtor 2 only a Student loans
At least One °f the debtors and another m Obligations arising out of a separation agreement or divorce that
l;] Check if this claim is for a community debt you d'd not report as pneer Cl?'ms _ _
a Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? M Other_ Specify medical
m No
m Yes
§§ ~ - 2 3 8 8 58 00
Pol.tel. Reglonal Hospltal Last4 digits of account number _ ___ _ ___ $ .
Nonpriority Creditor's Name
. When was the debt incurred? 04/30/2018
85 E US Highway 6 _““_~
Number Street
. As of the date ou f‘le, the claim is: Check ll th t l .
Va|paralso lN 46383 y ' a a app y
City State ZlP Code n Contingent
n Unliquidated
Who incurred the debt? Check one. [;] Dlspuled
m Debtor1 only
l;l Debtor 2 only Type of NONPRlORlTY unsecured claim:
g Debtor1 and Debtor 2 only m Student loans
At |east one of the debtors and another m Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you d'd not report as priority Cl:d'ms _ _
m Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? 3 other_ Specify medlCal
3 No
§ m Yes
i£l 3 9 8 3 $ 351 .00
Pol,tel. Utlllty Servlce Board Last4 digits of account number _ _~ _ ___
Nonpriority Creditor's Name
When was the debt incurred?
6070 Central Avenue
Number Street
As of the date ou file, the claim is: Check all that a l .
Ponage ll\l 46368 y pp y
City State ZlP Code m Contingent
Cl unliquidated
Who incurred the debt? Check one. L*_] Dlspuled
E Debtor1 only
m Debtor 2 only Type of NONPRlORlTY unsecured claim:
m Debtor1 and Debtor 2 only l;l Student loans
n At least one Of me debtors and another n Obligations arising out of a separation agreement or divorce that
cl Check if this claim is for a community debt you d'd not re‘_mn as pnomy cl?lms , ,
n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? 3 Other_ Specify Credif US€
w No
n Yes
Ulllb‘l`d| I'Ul|ll |\JUEI|' DCllduulb‘ EI|"B bleulluld VV||U l'ldVU Ullbdl.$ulb‘l~| bldlllld pdgb‘___Ul

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Debtor1 Richard C Neely Jr

 

First Name Middle Name Last Name

Case number ilrknnwn)

Your NONFR|OR|TY Unsecured Claims - Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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25 ' L t d' ' f b 2 3 8 8
Republlc Bank Trust CO as 4 lglts o account num er ____ _ _____ _ $ 0.00;
Nonpriority Creditor's Name
th ~ ? 03/23/2018
601 West Market Street When was e debt incurred
Numbe' S"ee‘ A fine d l ri iii l ‘ ' ~ ch i< ll iii i i
Loulsvllle KY 40202 s o a e you ie, e c aim is. ec a a appy.
City State ZlP Code a Contingent
El unirquldaied
Who incurred the debt? Check one, n Dlspuled
m Debtor1 only
Cl Debtor 2 only Type of NONPRlORlTY unsecured claim:
g Debtor1 and Debtor 2 only m Sludenl leans
At iea$t °"e °f the debtors and another n Obligations arising out of a separation agreement or divorce that
El check if this claim is for a community debt y°“ d'd "°t 'e§’°“ as p"°"ty °'f':"ms _ ,
n Debts to pension or profit-shaan plans, and other similar debts
ls the claim subject to offset? E Other_ Specify l'lO'tiCe Ol'lly
M No
n Yes
26 - - 7 4 5 9 0
Sears/ CBNA Last4 digits of account number _ __ _ _ $ O. 0
Nonpriority Creditor's Name
When was the debt incurred? 09/21/2012
P O Box 6282 _"_
Number Street
. A fthe date file, the cla` ' :Ch k ll th t l .
Sloux Falls SD s o you im is ec a a app y
City State ZlP Code [;l Contingent
U unliquidated
Who incurred the debt? Check one, m Dlspuled
m Debtor1 only
0 Debtor 2 only Type of NONPRlORlTY unsecured claim:
g Debtor1 and Debtor 2 only n Student loans
At least one of the debtors and another n Obligations arising out of a separation agreement or divorce that
El Check if this claim is for a community debt you d'd not report as pnomy c|?lms . .
m Debts to pension or profit-shaan plans, and other similar debts
ls the claim subject to offset? 3 Other_ Specify l'lOflCe Only
E?l No
[] Yes
27 1 6 0 $ 699.00
Sprlnt Last 4 digits of account number __ _ ____ §
Nonpriority Creditor's Name
When was the debt incurred? 04/29/2019
P O Box 8077 -_--
Number Street
As of the date ou file, the claim is: Check all that a l .
i_ondon i<Y 40742 y pp y
City slaie ziP code [] contingent
El unliquidated
Who incurred the debt? Check one, n Dlspuled
m Debtor1 only
m Debtor 2 only Type of NONPRlOR|T¥ unsecured claim:
g Debtor1 and Debtor 2 only n Student loans
At least one of the debtors and another n Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you d|d not report as monty C|élms . ,
m Debts to pension or profit-shaan plans, and other similar debts
ls the claim subject to offset? IZ Other. Specify Credil.’ USe
3 No
n Yes
Ull|Uldl I"Ul|ll lUUC/F culleuull'$ l:Il'; \.al eulLUld 'Vll\) ndv|:: Ull$€b'uleu b|dllllb ]Jdgd __ Ul _

Debtor 1

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Richard C Neely Jr

 

First Name Middle Name

Last Name

Case number (iiimqwn)

g Your NONPRlORlTY Unsecured Claims - Continuation Page

 

 

 

 

 

 

` After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

 

 

 

 

 

 

 

Who incurred the debt? Check one,

3 Debtor1 only

a Debtor 2 only

a Debtor1 and Debtor 2 only

n At least one of the debtors and another

l;l Check if this claim is for a community debt

ls the claim subject to offset?

3 No
n Yes

Totalclaim
28 - L 4 d' ' f b 1 6 8
Sprmt ast lglts o account num er ____ ___ _ __ $ 660_0()
§ Nonpriority Creditor's Name
< p 0 Box 8077 When was the debt incurred? 04/29/2019
Number Street . . _
London KY 40742 As of the date you t"lle, the claim is. Check all that apply.
City slate ziP code L`..l Contingent
. Cl unliquidated
Who incurred the debt? Check one. n Disputed
m Debtor1 only
n Debtor 2 only Type of NONPRlORlTY unsecured claim:
g Debtor1 and Debtor 2 only n Student loans
At least One of the debtors end another n Obligations arising out of a separation agreement or divorce that
C\ Check if this claim is for a community debt you did not report as pnomy cl_a'ms _ _
n Debts to pension or prot”it~shanng plans, and other similar debts
ls the claim subject to offset? E Other, Specify Cl’€dlt US€
M No
m ¥es
§§ - - 1 6 0 8 160 00
Sprint Last 4 digits of account number __ _ _ ____ $ .
Nonpriority Creditor's Name
When was the debt incurred? 04/29/2019
P 0 Box 8077 _*"‘
Number Street
As of the date ou file, the claim is: Ch k ll thata l .
l_ondon KY 40742 y e° a pp y
Ciiy stale ziP code El Contingent
cl Unliquidated
Who incurred the debt? Check one. n Disputed
m Debtor1 only
|:l Debtor2 only Type of NONPRlORlTY unsecured claim:
n Debtor 1 and Debtor 2 only n Student loans
g At least One of the debtors end another n Obligations arising out cf a separation agreement or divorce that
m Check if this claim is for a community debt you did not report as pnonty Clelms _ ,
U Debts to pension or profit-shaan plans, and other similar debts
ls the claim subject to offset? 3 Other_ Specify Credlf US€
§ a NO
" n Yes
L| 0 1 1 8 $---Q-'Y
TBOM/ Genesis Reta" Last 4 digits of account number _ _ __ ____
Nonpriority Creditor's Name
When was the debt incurred? 02/02/2015
P O Box 4499 ”`_
Number Street
As of the date ou t”ile, the claim is: Check all that a l .
Beaverton OR 97076 y pp y
City Slaie ZlP Code n Contingent

El unliquidated
El Dispuied

Type of NONPRlORlTY unsecured claim:

m Student loans

m Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

[;l Debts to pension or profit-sharing plans, and other similar debts
El oiner. specify notice only

 

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Debtor1

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Richard C Neely Jr

 

Hrsl Name Middle Name Last Name

Case number (irimown)

m Your NONPRlORlTY Unsecured Claims - Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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31 ' i_t4d"tf tb2388
§ Transunlon as igi s o accoun num er _ _ _ _ $ O_OO
_§ Nonpriority Creditor's Name _ 04/29/201 9
p 0 Box 1000 When was the debt incurred?
Number s"ee‘ As of th date o f'l th ia' ' ~ ch i< il tn l i
KY 40742 e yu ie, ec imis. ec a aappy.
city slate ziP code Cl Contingent
n Unliquidated
Who incurred the debt? Check one, l:l Dlsputed
Q Debtor1 only
a Debtor2 only Type of NONPRlORlTY unsecured claim:
g Debtor1 and Debtor 2 only n Sludenl loans
At least one af fha debtors and another a Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you ala nat raaaa aa enemy claims _ _
m Debts to pension or profit-shaan plans, and other similar debts
ls the claim subject to offset? M Other_ Specify l‘lOthe Ol'lly
a No
El Yes
_3§| - - 1 3 6 0 1 999 00
Verlzon Wireless/ Southeast Last 4 digits of account number _ _ _ _ $ l -
Nonpriority Creditor's Name
When was the debt incurred? 10/26/2010
P O Box 26055
Number Street
. . As of the dat file, the cla` ' : Ch k ll th t l .
|\/llnneapolls l\/lN 55426 a y°u 'm la ac a a app y
City state ziP code El Contingent
n Unliquidated
Who incurred the debt? Check one. m Dlspuled
l;l Debtor1 only
[] Debtor 2 only Type of NONPRlORlTY unsecured claim:
g Debtor1 and Debtor 2 only n Student loans
At least ana °f the debtors and another n Obligations arising out of a separation agreement or divorce that
m Check if this claim is for a community debt you dla nat raaaa as paanty aalma . _
m Debts to pension or proHt-sharing plans, and other similar debts
ls the claim subject to offset? 3 Other_ Specify Cl'edlt US€
3 No
n Yes
_]33 0 4 1 1 $ aaa
Webbank/ Flngerhut Last 4 digits of account number _ _ _ _
Nonpriority Creditor's Name
. When was the debt incurred? 12/17/2017
6250 Ridgewood Road _“"'_
Number Street
- As of the date ou file the claim is: Check all that a l .
saint cloud il/ii\l 56303 y ' pp y
City State ZlP Code n Contingent
El unliquidated
Who incurred the debt? Check one. n Dlspuled
m Debtor1 only
l:l Debtor2 only Type of NONPRlORlTY unsecured claim:
g Debtor1 and Debtor2 only l;] Student loans
At least One of the debtors and another m Obligations arising out of a separation agreement or divorce that
m Check if this claim is for a community debt you ala nat report aa pnaaty Claims . .
n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? 12 Other, Specify l’lOflCE Only
3 No
l n Yes
Ulllb`l'dl |'Ull|t lUOE/l` DUHUUL||B Ell'; blb‘ull.Uld 'lllU ndv!': Ulld!$b'ulb‘bl bldlllld llde __U| __

Debtor 1

i

 

 

 

Case 19-21192-jra Doc 1 Filed 04/30/19 Page 38 of 76

Richard C Neely Jr

 

First Name Middle Name Last Name

Case number (irknown)

Your NONFRIORITY Unsecured Claims - Continuation Fage

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

§ After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim
34 _ L 4 d' ' f b 2 3 8 8
Advance Amerlca ast lglts o account num er ____ _ ___ _ $ 702_(]()
Nonpriority Creditor's Name
1619 E 37th Ave When was the debt incurred?
Numbe' area A fin dr fl th l‘ '~cn k iiinz i
l_lobart lN 46342 so e aeyou ie, ecaimis. ec a aappy.
City State ZlP Code n Contingent
m Unliquidated
Who incurred the debt? Check one. a Dlspuled
m Debtor1 only
m Debtor 2 only Type of NONPRlORlTY unsecured claim:
§ Debtor1 and Debtor 2 only m Sludenl loans
At least one ef the debtors and another n Obligations arising out ot a separation agreement or divorce that
n Check if this claim is for a community debt you did not mem as pmer claims , ,
n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? 3 Other_ Specify Cf€dl't' US€
a No
El Yes
_3§_| ~ - 4 6 8 4 1 132 00
Green -l-rust Last4 digits of account number ___ __ _ ____ $ , .
Nonpriority Creditor's Name
When was the debt incurred?
P O Box 340
Number Street
A fthe date o f`l ,thec|a'm 's:Ch k llth t I.
Hays MT 59527 so y u le l i ec a a appy
City slate ziP code Cl Contingent
U Unliquidated
Who incurred the debt? Check one. m Dlspuled
m Debtor1 only
Cl Debtor2 only Type of NONPRlORlTY unsecured claim:
g Debtor 1 and Debtor2 only n Sludenl loans
At least one er the debtors and anemer D~ Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you d|d not mem as enemy C|e'ms _ ,
m Debts to pension or protit-sharing plans, and other similar debts
ls the claim subject to offset? M Other. Specify Credif uSe
lZ No 1
n Yes
36 2 1 8 7 $ 2,187.00
lnbox Loans/ Kashia lnbox Loans Last4 d‘g'ts °fa°°°""t number _ -~ _ -~
Nonpriority Creditor's Name
When was the debt incurred?
P 0 Box 881
Number Street
As of the date ou file, the claim is: Check all that a l .
Santa Rosa CA 95402 y PP y
guy slate ziP code Cl Contingent
n Unliquidated
Who incurred the debt? Check one, a Dlspuled
E Debtor1 only
l;l Debtor 2 only Type of NONPRlORlTY unsecured claim:
a Debtor1 and Debtor 2 only n Sludenl loanS
a At least one °f the debtors and another n Obligations arising out of a separation agreement or divorce that
Cl Check if this claim is for a community debt you did not report as pnomy dams . _
n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? 3 Olher_ Specify Credi't USe
E No
a Yes
\J|l|U|d| l`Ul|ll lUUE/|_ CUIIUUUIE Ell'§ bl¢ull.Uld VVI\U l'l'dv\‘: Ul|d¢b'uldu bld|llld page ___ U| _

Debtor 1

 

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Richard C Neely Jr

 

Hrst Name Middle Name Last Name

Case number (irknown)

Your NONPRlORlTY Unsecured Claims - Continuation Page

 

 

 

 

 

Total claim

 

 

 

 

 

 

 

\Jll|Ul'dl I`U||ll lUUC/i"

 

 

 

Who incurred the debt? Check one.

n Debtor 1 only

El Debtor 2 only

o Debtor1 and Debtor 2 only

m At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

m No
l;l Yes

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

37 - - 3 4 7 5 b
Loan At Last Last4 digits of account number _ _ _ _ $ 11951‘00
Nonpriority Creditor's Name
P 0 Box 1 193 When was the debt incurred?

Numbe' St'eet As of th date til th la' ' - ch i< ll th t i
Lao on i=lannloeau Wl 54533 6 y°“ e' e ° "" 'S~ e° a a am
city state ziP code [] Contingent
n Unliquidated
Who incurred the debt? Check one, n Dlspuled
m Debtor1 only
m Debtor 2 only Type of NONPRlORlTY unsecured claim:
g Debtor1 and Debtor 2 only m Student loans
At teaet one et the debtors and another m Obligations arising out of a separation agreement or divorce that
[] Check if this claim is for a community debt you dtd not report as twenty deth . _
n Debts to pension or proht~shanng plans, and other similar debts
ls the claim subject to offset? M Other_ Specify Credi't US€
a No
a Yes
__t Last 4 digits of account number _ _ _ _ $
Nonpriority Creditor's Name
When was the debt incurred?
N b St
um er feet As of the date you file, the claim is: Check all that apply.
city state ziP code [] Contingent
n Unliquidated
Who incurred the debt? Check one, [:| Dlsnuled
m Debtor1 only
C] Debtor2 only Type of NONPRlORlTY unsecured claim:
l;l Debtor 1 and Debtor2 only m Student loans
m At teaet One of the debtors and another U- Obligations arising out of a separation agreement or divorce that
. . . . . did not report as priority claims
m Check fthis claim s for a communlt debt you
l l y n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? C| Other_ Specify
a No
§ m Yes
__l __ $
Last 4 digits of account number _ _ _
Nonpriority Creditor's Name
When was the debt incurred?
N b
um er Street As of the date you tile, the claim is: Check all that apply.
City state ziP code C] Contingent

m Unliquidated
Et oisputed

Type of NONPRlORlTY unsecured claim:

m Student loans

U Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

cl Debts to pension or proEt-sharing plans, and other similar debts
n Other. Specify

 

DUIl\':uult: Ell'; blb‘ulluld VV|IU rlde Ullbeh'ul¢u b|'¢!llllb

 

page _ ul

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Debtor1 Richard C Neely Jr

Case number (irknown)

 

First Name Mlddle Name Last Name

msi others to Be Notified About a Debt That You Already Listed

t

i

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For

example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Simi|arly, if you have more than one creditor for any of the debts that you listed in Part51 or 2, list the
additional creditors here. |f you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Credit One Bank

 

 

 

 

Name

6801 S Cimarron Road

Number Street

Las Vegas NV 89113
rcity state ziP code v

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 9 of (Check one): ij Part 1: Creditors with Priority Unsecured Claims
@ Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number_5_ _i 3 l

 

David A Foelber

 

Name

504 Lincolnway

 

 

 

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.1 of (Check one): i:l Part 1: Creditors with Priority Unsecured Claims

 

 

 

 

 

 

 

 

 

 

Number Street 53 Part 2: Creditors with Nonpriority Unsecured
Claims

Va|paraiso |N 46383 Last 4 digits of account number_O £_ _7 _4_

city state ziP code

Fi|'S'( NatiOnal Bank/ CCS On which entry in Part 1 or Part 2 did you list the original creditor?

Name

500 E 60th St N Line 12 of (Check one): Cl Part1: Creditors with Priority Unsecured Claims

Number Stree‘ a Part 2: Creditors with Nonpriority Unsecured
Claims

Sioux Fa"S SD 57104 Last 4 digits of account number_O _§_ j _Z_

City State ZlP Code

FSB/ BlaZe Credit Card On which entry in Part 1 or Part 2 did you list the original creditor?

Name

P O Box 5096 Line 15 of (Check one): [] Part1:Creditors with Priority Unsecured Claims

Number Street 13 Part 2: Creditors with Nonpriority Unsecured
Claims

Sioux Fa"S SD 57117 Last 4 digits of account number_0 __4_ _3 _i

City State ZlP Code

 

Onel\/|ain Financia|

 

 

 

 

On which entry in Part 1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

Name

100 lnternationa| Drive Fl 15th Line L___ of (Check one): cl Part1:Creditors with Priority Unsecured Claims

Number S“ee‘ 3 Part 2: Creditors with Nonpriority Unsecured
Claims

Ba|timore MD 21202 Last 4 digits of account number_§ _4 _9 _1

city state ziP code

PO|"tel' COUt'tty Shel'iff/ Civil DiViSlOn On which entry in Part 1 or Part 2 did you list the original creditor?

Name

2755 S State Road 49 Line 2.1 of (Check one): m Part 1; Creditors with Priority Unsecured Claims

Numbe' S"ee’ L_.i Part 2: Creditors with Nonpriority Unsecured
Claims

Va|paraiso lN 46383 Last 4 digits of account number_6 _5 __9_ 1

city state ziP code

§Orter Superior Court On which entry in Part 1 or Part 2 did you list the original creditor?

am€

3560 W"|OWCreek Rd Line 4-1 of (Check one): n Part 1: Creditors with Priority Unsecured Claims

Number street @ Part 2: Creditors with Nonpriority Unsecured
Claims

Porta e lN 46368 _ _

Cny g State ZlP Code Last 4 digits of account number_O_ _£ _7_ i

\JlllUl'dl l°UlllI lUU[:Il` °Ulleuule :II'§ blb'ullulb VVI|U have Ullbt:b'ulb‘u bl`dlllld pdg¢____ Ul __

 

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Debtor1 Richard C Neely Jr Case number (ilknawn)

Hrst Name Middle Name Last Name

 

 

mist Others to Be Notified About a Debt That You Already Listed

 

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
j; example, if`a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or

§ 2, then list the collection agency here. Simi|arly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. lf you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ApeX ASSet Managemenf On which entry in Part1 or Part 2 did you list the original creditor?

Name

2501 OregOl’l Pike Ste 201 Line L_ of (Check one): U Part1: Creditors with Priority Unsecured Claims

Number S“eet El Part 2: Creditors with Nonpriority Unsecured Claims
L - - 2= '3 8 8

Lancaster F,A 17601 ast 4 digits of account number_ ___ __ _

City State ZlP Code

RepUbliC CO|'pOl’afe Cel'lfel' On which entry in Part 1 or Part 2 did you list the original creditor?

Name

501 West Market Street Line 25 of (check one): D Part i; creditors with Priority unsecured claims

Number Street 3 Part 2: Creditors with Nonpriority Unsecured
Claims

Louisvme KY 40202 Last 4 digits of account number_§ _3 § __8_

city state ziP code

SearS/ CBNA On which entry in Part 1 or Part 2 did you list the original creditor?

Name

P O Box 6217 Line 26 of (Check one): El Part1: Creditors with Priority Unsecured Claims

Number S“ee‘ a Part 2: Creditors with Nonpriority Unsecured
Claims

Sioux Fa"S SD 57117 Last 4 digits of account number_7 _";"_ __5_ _9

City State ZlP Code

Seal°S/ CBNA On which entry in Part 1 or Part 2 did you list the original creditor?

Name

133200 Smith Rd Line 26 of (Check one): Cl Part 1: Creditors with Priority Unsecured Claims

Number Street 3 Part 2: Creditors with Nonpriority Unsecured
Claims

cleveland OH 44130 Last 4 digits of account number_7 _4 _5 ___9_

City State ZlP Code

SnOW & Sauel'teig On which entry in Part 1 or Part 2 did you list the original creditor?

Name

203 E Berry St Line 22 of (Check one): Cl Part1:Creditors with Priority Unsecured Claims

Number S"eef 3 Part 2: Creditors with Nonpriority Unsecured
Claims

Fort Wayne |N 46802 Last 4 digits of account number_l_ __8__ __O__ §

city state ziP code

Sl`lOW & Sauel’teig On which entry in Part 1 or Part 2 did you list the original creditor?

Name

203 E Berry St Line 23 of (Check one): l'_'l Part 1: Creditors with Priority Unsecured Claims

Number S"ee‘ 3 Part 2: Creditors with Nonpriority Unsecured
Claims

Fort Wayne |N 46802 Last 4 digits of account number_8 _8 _5 _4_

city state ziP code

 

Venzon W're|ess On which entry in Part 1 or Part 2 did you list the original creditor?

 

 

 

 

Name
P O BOX 650051 Line 32 of (Check one): El Part 1: Creditors With Priority Unsecured Claims
N
timber Street 3 Part 21 Creditors with Nonpriority Unsecured
Claims
Dall TX 75265
City as State ziP Code Last 4 digits of account number_1_ __3_ __§_ _l

 

Ul||Ul'dl FUl|ll lUUC/l" DUHEUU|¢ l:lf`. blb'ulluld VV|IU l"ld\l!'; Ulld¢Uul\':U bldl||lb pdgd Ul

 

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Debtor1 Richard C Neely Jr

Case number (ifknown)

 

First Name Middle Name

Last Name

m List others to Be Notified About a Debt That ¥ou Already Listed

 

§ 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For

§ example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or

§ 2, then list the collection agency here. Simi|arly, if you have more than one creditor for any of the debts that you listed in Parts1 or 2, list the
§ additional creditors here. lf you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Kashia lnbox Loans/ |nbox Loans

 

 

 

 

On which entry in Part 1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
P O Box 637 Line 36 of (Check‘one): |;l Part 1: Creditors With Priority Unsecured Claims
Number S"ee' @ Part 2: Creditors with Nonpriority Unsecured Claims
. L ' ~ 2 1 8 7
B|andmg UT 84511 ast 4 digits of account number____ _ _ __
City State ZlP Code
Tl`UeACCOrd COi’p On which entry in Part 1 or Part 2 did you list the original creditor?
Name
303 znd Street Ste 750 Line 37 of (Check one): Cl Part 11 Creditors with Priority Unsecured Claims
Number S“ee‘ [Z Part 2: Creditors with Nonpriority Unsecured
Claims
San Franclsco CA 94107 Last 4 digits of account number _2 _3 _8__ __8_
city state ziP code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): U Part 1: Creditors with Priority Unsecured Claims
Number Street i;l Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number____ _ _ _
City State ZlP Code
On which entry in Part1 or Part 2 did you list the original creditor?
Name
Line of (Check one): L:] Part 1: Creditors with Priority Unsecured Claims
Number S"ee' ij Part 21 Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number___ _ _
City State ZlP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): Cl Part 1: Creditors with Priority Unsecured Claims
Number Street m Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number_ _ _____
City State ZlP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): Cl Part 1: Creditors with Priority Unsecured Claims
Number S"eef n Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number__ ___ ____ _
city State ziP code
N On which entry in Part 1 or Part 2 did you list the original creditor?
ame t
Line of (Check one): i:l Part 1: Creditors with Priority Unsecured Claims l
Number Street . . . .
m Part 21 Creditors with Nonpriority Unsecured
Claims
Ci§y State z§P Code Last 4 digits of account number_ _ _ _ §
VlllU|'dl r'Ullll lU!)L-.Il' DU||CUU|C =Il". blb'U\LUl§ VV||U nd\lt: Ullb\':b`l.ll¢u bldlllld pdgd_ Ul ______

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Debtor1 Richard C Neely Jr

First Name Middle Name Last Name

m Add the Amounts for Each Type of Unsecured Claim

§ 6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only, 28 U.S.C. § 159.

 

Add the amounts for each type of unsecured claim.

Total claims
from Part 1

Total claims
from Part 2

 

Sa.

Gb.

6c.

6d.

6e.

Sh.

6i.

Domestic support obligations

Taxes and certain other debts you owe the
government

Claims for death or personal injury while you were
intoxicated

Other. Add all other priority unsecured claims.
Write that amount here.

Total. Add lines 6a through 6d.

. Student loans

. Obligations arising out of a separation agreement

or divorce that you did not report as priority
claims

Debts to pension or profit-sharing plans, and other
similar debts

Other. Add all other nonpriority unsecured claims.
Write that amount here.

6j. Total. Add lines 6f through 6i.

6a.

6b.

60.

6d.

6e.

6f.

69.

Gh.

Sl.

ej.

Case number (irknawn)

 

 

 

 

 

 

Total claim
$ 0.00
$ 3,289.00
s 0.00
+ $ 0.00
$ 3,289.00
Total claim
$ 0.00
$ 0.00
$ 0.00
+ $ 28,563.00
3 28,563.00

 

 

 

 

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page _ ui

Case 19-21192-jra Doc 1 Filed 04/30/19 Page 44 of 76

Fill in this information to identify your case:

Debtor Richard C Neely Jr

First Name Middle Name Last Name

Debtor 2 N/A

 

 

(Spouse if H|ing) First Name Middle Name Last Name
United States Bankruptcy Court for the: Northern District Of lndiana

Case number . . .
(ifknown) n Check if this is an

amended filing

 

 

 

Officia| Form 1066
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, copy the additional page, Fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

1. Do you have any executory contracts or unexpired leases?
n No. Check this box and me this form with the court with your other schedules You have nothing else to report on this form,
a Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Oft`icial Form 106A/B).

2. List separately each person or company with whom you have the contractor lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired |eases.

Person or company with whom you have the contract or lease State what the contract or lease is for

Progressive Leasing rental agreement/ headboard, footboard, rails, dressers,
§ Name mirror

256 W Data Drive non-residence

'i Number Street

Draper UT 84020

City State ZlP Code

 

 

 

Village Carpet & Tiie, inc sales contract, carpeted stairs
Name non-residence
5991 Central Avenue

Number Street

Poriage iN 46368
City State ZlP Code

 

 

 

§ Sprint sales contract, cell phones
Name non-residence
P O Box 8077

Number Street

§ London KY 40742
_ city state ziP Code

_m_`_~§ N/A

Name

 

 

 

Number Street

 

City State ZlP Code

N/A

Name

!\’
?,,KSZ'L,,

 

 

Number Street

 

 

City State ZlP Code

Vlllblul FUllll l\.IU\J obll€\¢lulc \-7» I:R¢\oulvly bull\ldb\° dllu ullchpllcu headed page \ Ul l

Case 19-21192-jra DQC 1 Filed 04/30/19 Page 45 of 76

Fill in this information to identify your case:

Debtor1 Richard C Neely Jr

First Name Middla Name Last Name

 

Debtor 2 N/A

(Spouse, if filing) First Name Middle Name

United States Bankruptcy Court for the: Northern DiSfl'iCt Of indiana

 

Case number
(lf known)

 

 

n Check if this is an
amended filing

Official Form 106H
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. lf two married people
are Filing together, both are equally responsible for supplying correct information. lf more space is needed, copy the Additionai Page, fill it out,
and number the entries iri the boxes on the left. Attach the Additionai Page to this page. On the top of any Additionai Pages, write your name and
case number (if known). Answer every question.

 

 

 

1. Do you have any codebtors? (lf you are filing a joint case, do not list either spouse as a codebtor.) §
l;l No §
a Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

l?l No. co to iine 3. i
m Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

DNO

L_.] Yes. ln which community state or territory did you live? . Fill in the name and current address of that person. §

 

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street §

 

 

§ city state ziP code t

§ 3. ln Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person t

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 1066). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.
Column 1: Your codebtor Column 2.' The creditor to whom you owe the debt
Check all schedules that apply:
3.1 -
b:raneROSe Wh'tneld m Schedule D, line 2-2
19341 Oak Ave U Schedule E/F, line ______
Number Street _ 0 Schedule G, line
Country Club Hills lL 60478
city state ziP code
3.2
N/A n Schedule D, line
Name ___
n Schedule E/F, line
Number Street Cl Schedule G, line
§ city state ziP code §
3.3
N/A Cl scheduie D, line
Name
El Schedule E/F, line
Number Street L_.l Schedule G, line
mgity State ZlP Code

 

 

 

\Jlll\.ildl l_Ullll lUUll obll\=uult; nn lULll \IU\|\=LH.UID pd\d¢ l Ul l

Case 19-21192-jra Doc 1 Filed 04/30/19 Page 46 of 76

Fill in this information to identify your case:

Debtor1 Richard C Neely Jr

First Name Middle Name Last Name

Debtor 2 N/A

 

(Spouse, if filing) First Name Middla Name Last Name

United States Bankruptcy Court for the: Northern District Cf lndiana

Case number Check if this iSZ

(lfknown)
m An amended filing

n A supplement showing postpetition chapter 13
income as of the following date:

OfflCla| FOl‘m 106§ m
Schedule l: Your lncome 12./15

Be as complete and accurate as possible. lf two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. lf you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
lf you are separated and your spouse is not filing with you, do not include information about your spouse. lf more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

m Describe Employment

1. Fill in your employment _
information Debtor1 Debtor 2 or non-filing spouse

 

 

 

 

 

|f you have more than one job,

attach a separate page with
information about additiona§ Employment status 5 Employed L_.i Employed
employers n Not employed l;l Not employed t

lnclude part-time, seasonal, or
self-employed work.

Steel Worker

Occupation

 

Occupation may include student t
or homemal<erl if it applies.

Employer’$ name United State$ Steel CO|’pOl'atiOl`l

 

Employer’$ address 600 Grant Street Room 1814

 

 

 

 

 

Number Street Number Street i
Pittsburgh PA 15219
City State ZlP Code City State ZlP Code
How long employed there? 19 yrs 7 mthS 19 yrs 7 mths

m Give Details About Monthly lncome

Estimate monthly income as of the date you file this form. lf you have nothing to report for any line, write $0 in the space. lnclude your non-filing
spouse unless you are separated.

§ lf you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
‘ below. lf you need more space, attach a separate sheet to this form,

 

For Debtor 1 For Debtor 2 or
non-filing spouse

 

2. List monthly gross wages, salary, and commissions (before all payroll
' deductions). lf not paid monthly, calculate what the monthly wage would be. 2. $ 41088_00 $

3. Estimate and list monthly overtime pay. 3. + $ 4»026-83 + $

 

 

 

4. Calculate gross income. Add line 2 + line 3. 4. $ 81114-83 $

 

 

 

 

 

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Debtor1 Richard C Neely Jr Case number (ifknown)
FirstName Middle Name Last Name
For Debtor 1 For Debtor 2 or §
non-Filing sgouse
Copy line 4 here.... ....................... .-) 4. $ 8,114-83 $

 

 

5. List all payroll deductions:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5a. Tax, Medicare, and Social Security deductions 5a. $ 2,067.51 $
5b. Mandatory contributions for retirement plans 5b. $ 0.00 $
50. Voluntary contributions for retirement plans 50. $ O-OO $
5d. Required repayments of retirement fund loans 5d. $ 0-00 $
5e. lnsurance 5e_ $ 510.00 $
5f. Domestic support obligations 5f. $ 500-00 $
59. Union dues 59. $ 103'66 $
5h. Other deductions. Specify: 5h. + $ 0.00 + $
6. Add the payroii deductions. Add lines 5a + 5b + se + 5d + se +5f + 59 + 5h. 6. $ 3,181.17 $
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 4,933-66 $
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ 0 00 $
monthly net income. 8a. `
ab. interest and dividends ab. $ 0-09 $
8e. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
lnclude alimony, spousal support, child support, maintenance, divorce $ 0_00 $
settlement, and property settlement Sc. ____
8d. Unemployment compensation 8d. $ 0~00 $
8e. Social Security 8€- $ 0.00 $
8f. Other government assistance that you regularly receive
lnclude cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benet”its under the Supplemental
Nutrition Assistance Program) or housing subsidies
Specify: 8f. $___M $
89. Pension or retirement income 89. $ 0-00 $
8h. Other monthly income. Specify: Bh, + $ 0.00 +$
9. Add aii other income. Add lines se + ab + se + ad + se + at +ag + an 9. $ 0.00 s
10.Calculate monthly income. Add line 7 + line 9. d $ 4’933_66 + $ O_OO = $ 4,933_66
» Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. _-_
§11. State all other regular contributions to the expenses that you list in Schedule J.
lnclude contributions from an unmarried partner, members of your household, your dependents your roommates, and other
friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J. §
Specify: 11, + $ 0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. 4 933 66
Write that amount on the Summary of YourAssets and Liabi/ities and Certain Statistical /nformation, if it applies 12. $__..__’_.__'_._
Combined

monthly income
13. Do you expect an increase or decrease within the year after you file this form?

n No.

 

 

g Yes. Exp§a§n: |'m currently working overtime when needed, but overtime isn't guaranteed

 

 

 

 

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Fill in this information to identify your case:

Debtor1 Richard C Neely Jr _ _ _
FirstName Middie Name LastNarne Check lf this lS:

Debtor 2 N/A _
(SpOuS€. ifi'liirlg) FilstName Middle Name LastName n An amended filing

_ _ , El A supplement showing postpetition chapter 13
united states Bankruptcy conn for inez Northern District of lndiana expenses as of the following date.

Case number
(lf known)

 

m

 

 

Officia| Form 106J
Schedule J: Your Expenses 12115

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

m Describe Your Household

1. ls this a joint case?

 

 

g No. Go to line 2.
m Yes. Does Debtor 2 live in a separate household?

[;l No
n Yes. Debtor 2 must file Oft`icial Form 106J-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

 

 

 

2. Do you have dependents? [] NO
Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 1 and M Yes. Fill out this information for Debtor1 °\' Debtor 2 age Wifh you?
Debtor 2. each dependent .......................... n
Do not state the dependents son 23 m N°
names. Yes
son 21 m N°
m Yes
deuqhier 18 9 N°
m Yes
daughter 17 n N°
w Yes
n No
ij Yes
3. Do your expenses include g No

expenses of people other than n
W»_yourself and your dependents? Yes

m Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is t"iled. if this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

lnclude expenses paid for with non-cash government assistance if you know the value of

 

such assistance and have included it on Schedule I: Your lncome (Official Form 106l.) Y°u" expenses
4. The rental or home ownership expenses for your residence. include first mortgage payments and 1 282 00
any rent for the ground or lot. 4. $ ' `

|f not included in line 4:

4a. Real estate taxes 43_ $ 0.00
4b. Propeity, homeowner’s, or renter’s insurance 4b. $ O-OO
4c. Home maintenance, repair, and upkeep expenses 4c. $ 105.00
4d. Homeowner's association or condominium dues 4d. $ O-OO

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Debtor1 Richard C Neely Jr

10.
11.

12.

14.

15.

16.

17.

18.

20.

 

First Name Middle Name Last Name

. Additionai mortgage payments for your residence, such as home equity loans

. Utilities:

Sa. Electricity, heat, natural gas
6b. Water, sewer, garbage collection
6e. Te|ephone, cell phone, lnternet, satellite, and cable services

6d. Other. Specify:

 

. Food and housekeeping supplies

. Childcare and children's education costs

. Clothing, laundry, and dry cleaning

Personal care products and services
Medical and dental expenses

Transportation. lnclude gas, maintenance, bus or train fare.
Do not include car payments

Entertainment, clubs, recreation, newspapers, magazines, and books

Charitab|e contributions and religious donations

|nsurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b. Health insurance
15c. Vehicle insurance

15d. Other insurance. Specify:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

installment or lease payments:
17a. Car payments for Vehicle 1

17b. Car payments for Vehicle 2
170 Other_ Specify: Internal Revenue Service

 

17d. Other. Specify:

 

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule I, Your lncome (Oft"icial Form 106l).

Other payments you make to support others who do not live with you.
Specify:

 

Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Yourlncome.

20a Mortgages on other property

20b. Real estate taxes

20e. Propeity, homeowner’s, or renter‘s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Case number (i/knewn)

6e.
6b.
60.

6d.

10.
11.

12.

13.
14.

15a.
15b.
15c.

15d.

16.

17a.

17b.

17C.

17d.

18.

19.

20a.
20b.
20e.
20d.

20e.

Your expenses

$

€H€BEH€H€N%$M$

99

$

99666999

MH§€B$

696999€96>

 

0.00

350.00
82.00

339.00
0.00

1,008.00
0.00
285.00
91 .00
125.00

398.00

0.00
0.00

0.00
0.00

325.00
0.00

0.00

550.00
0.00
125.00
0.00

0.00

0.00

0.00
0.00
0.00
0.00
0.00

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Debtor 1 Richard C Neely Jr Case number (iiknown)

First Name Middle Name Last Name

21. Other. Specify:

 

22. Calculate your monthly expenses.
22a. Add lines 4 through 21.
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Ofticial Form 106J-2

22c. Add line 22a and 22b. The result is your monthly expenses

23. Calculate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule /.

23b. Copy your monthly expenses from line 220 above.

230. Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

No.

21.

22a

22b.

22c.

23a.

23b.

236.

 

 

 

 

 

+$ 0.00
3 5,065.00
3 0.00
$ 5,065.00

$ 4,933.66

__$ 5,065.00

$ ~131.34

 

 

Cl Yes. Explain here:

 

 

 

Case 19-21192-jra Doc 1 Filed 04/30/19 Page 51 of 76

Fill in this information to identify your case:

Debtor1 Richard C Neely Jr

First Name Middle Name Last Name

Debtor 2 N/A

(Spouse, if ming) First Name Middle Name Last Name

United States Bankruptcy Court for the: Northern District Of lndiana

Case number
(|t known)

 

 

El check if this is an
amended filing

 

Officia| Form 106Dec
Dec|aration About an lndividual Debtor’s Schedules 12/15

lf two married people are filing together, both are equally responsible for supplying correct information.

¥ou must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

MNo

n Yes. Name of person . Attach Bankruptcy Petiti'on Preparer’s Notice, Declaration, and

Signature (Official Form 119).

Under penalty of perjury, l declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

X b\W …5 -"~\/X N/A

Signature of Debtor 11 \ Signature of Debtor 2

Date 04/30/2019 Date

MM/ DD / YYYY MM/ DD/ YYYY

 

Case 19-21192-jra Doc 1 Filed 04/30/19

Fill in this information to identify your case:

Debtor1 Richard C Neely Jr

First Name Middle Name Last Name

Debtor 2 N/A

 

 

(Spouse, if filing) First Name Middla Name Last Name
United States Bankruptcy Court for the: Northern District Of lndiana

Case number
(lf known)

 

 

 

Official Form 107

Page 52 of 76

El check it this is en
amended filing

Statement of Financial Affairs for individuals Filing for Bankruptcy 04/19

 

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach a separate sheet to this form, On the top of any additional pages, write your name and case

number (if known). Answer every question.

Give Details About Your Marital Status and Where You Lived Before

 

f 1. What is your current marital status?

m Married
l:] Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

MNO

l;l Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1: Dates Debtor1 Debtor 2:
lived there

n Same as Debtor1

 

Dates Debtor 2
lived there

m Same as Debtor 1

From

 

 

To

 

 

 

 

State ZlP Code

E] Same as Debtor1

From

 

 

To

 

 

 

From

Number Street Number Street
To

City State ZlP Code City

n Same as Debtor1

From

Number Street Number Street
To

City State ZlP Code City

State ZlP Code

l 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
' states and territories include Arizona, California, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

Cl No
m Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

m Explain the Sour¢:es of Your lncome

Ofticial Form 107

Statement of Financial Affairs for individuals Filing for Bankruptcy page 1

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Debtor1 Richard C Neely Jr

Case number (irknawn)
First Name Middle Name Last Name

 

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities
lf you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

n No
g Yes. Fill in the details.

 

Sources of income Gross income Sources of income Gross income
Check all that apply. (before deductions and Check all that apply. (before deductions and
exclusions) exclusions)

From January 1 of current year until g :;:Z::’S°;m:issi°ns’ $ 28,453.1 'l m :`;ang:s’scct’.m:‘issions' $
the date you filed for bankruptcy: ’ p _°°_'_" u e ' 'p

L_.] Operatinga business n Operating a business
, g Wages, commissions m Wages, commissions
For last calendar year.

bonuses, tips $ 97,378-00 bonuses, tips $

(January 1 to December 3112Y$Y_._'l§8______) m Operating a business n Operating a business

For the calendar year before that, g Wages, commissionsl n Wages, commissions,
' bonuses, tips $ 96 191 00 bonuses, tips $

, .
(January 1 to December 31120_17_____) n Operating a business n Operating a business

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
unemployment, and other public benth payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. lf you are ming a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

3 No
El Yes. l=ill in the details

 

Sources of income Gross income from Sources of income Gross income from
Describe below. each S°u"°e Describe below. each $°"*'Ce
(before deductions and (before deductions and
exclusions) exclusions)

From January 1 of current year until ____ $_-_____._ _°'°_'_~ $
the date you filed for bankruptcy:

 

For last calendar year:

(January 1 to December 31 ,ZL§___) $
YYYY

 

 

 

For the calendar year before that:
(January 1 to December 31 ,2017 )
YYYY

 

 

 

 

 

 

Offlcial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 2

Debtor 1

Case 19-21192-jra Doc 1 Filed 04/30/19 Page 54 of 76

Richard C Neely Jr

 

First Name

\

Middle Name Last Name

Case numb

mist Certain Payments You Made Before You Filed for Bankruptcy

el' (il known)

 

6. Are either Debtor 1’s or Debtor 2's debts primarily consumer debts?

n No. Neither Debtor1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

m No. Go to line 7.

m Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment

a Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

n No. Go to line 7.

g Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

Chase Mortgage

Creditor's Name

301 N Walnut St Fl 09

Dates of
payment

04/10/2019

 

Number Street

 

Wi|mington DE 19801

 

City State ZlP Code

 

Creditor's Name

 

Number Street

 

 

City State ZlP Code

 

Creditor's Name

 

Number Street

 

 

city state ziP code

Total amount paid

$

1,300.00 $

Amount you still owe

168,809.00

Was this payment for...

g Mortgage

m Car

n Credit card

a Loan repayment

n Suppliers or vendors

n Other

n Mortgage

cl Car

n Credit card

m Loan repayment

n Suppliers or vendors

Cl other

m Mortgage

n Car

n Credit card

|;l Loan repayment

n Suppliers or vendors

a Other

 

Offlcial Form 107

Statement of Financial Affairs for individuals Filing for Bankruptcy

page 3

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Debtor1 Richard C Neely Jr

Case number (irknown)
First Name Middle Name Last Name

 

 

7. Within 1 year before you Hled for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
lnsiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. lnclude payments for domestic support obligations,
such as child support and alimony.

MNo

n Yes. List all payments to an insider.

 

 

 

 

 

 

 

 

 

 

Dates of Total amount Amount you still Reason for this payment
payment paid owe
$ $
lnsider‘s Name
Number Street
city state ziP code ."
$ $
lnsider’s Name
Number Street

 

 

 

City State ZlP Code §

 

 

§ 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an insider?
lnclude payments on debts guaranteed or cosigned by an insider.

E- No

Cl Yes. List all payments that benefited an insider.

 

 

 

 

 

 

 

Dates of Total amount Amount you still Reason for this payment
payment pa'd owe lnciude creditor’s name

$ $
lnsider‘s Name
Number Street §
city state ziP code
§
$ $

 

 

lnsider‘s Name

 

Number Street

 

 

lQifY.l ,. , Si.a¥e.l,,_;ll’,§¢¢e`

Oft`lcial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 4

Case 19-21192-jra Dcc 1 Filed 04/30/19 Page 56 cf 76

Richard C Neely Jr

Middle Name

Debtor1 Case number (irknawn)

 

 

First Name Last Name

m identify Legal Actions, Repossessions, and Foreclosures

 

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications
and contract disputes.

[._.l No
El Yes. Fill in the details

Nature of the case Court or agency Status of the case

 

 

 

 

 

 

 

 

 

 

 

 

§default .
. Porter Superlor Court
l .
Case title Albert s Diamond Jewe|e . Court Name q pend.ng
- . n Ona ea|
vS- Richard Neely Jr 3560 willow/creek Road pp
Number Street m Conc|uded
Case number 64D06-1801-SC-007 Portage lN 46383
City State ZlP Code
Case title Court Name n Pending
n On appeal
:Number Street n COnCiuded
Case number §
‘ ZlP Code

icity state

 

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished,` attached, seized, or levied?
Check all that apply and fill in the details below.

[;l No. Go to line 11.
g Yes. Fill in the information below.

Describe the property Date Value of the property

 

§garnished wages

lnbox Loans/ Kashia |nbox Loans
Creditor's Name

 

05/30/2018 $ 2,187_32

 

 

 

 

 

 

 

 

 

 

 

 

 

PO Box 881
Number Street Explain what happened
n Property was repossessed.
[;.l Property was foreclosed.
Santa Rosa CA 95402 M Property was garnished.
cary state ziP code m Property was attached, seized, or levied.
Describe the property Date Value of the property
$
Creditor's Name
Number Street
Explain what happened
L_.l Property was repossessed.
n Property was foreclosed.
_ a Property was garnished.
City State ZlP Code n

Property was attached, seized, or levied.

Ofl"lcia| Form 107 Statement of Financial Affairs for lndividua|s Filing for Bankruptcy page 5

Case 19-21192-jra Dcc 1 Filed 04/30/19 Page 57 cf 76

Debtor1 Richard C Neely Jr Case number (irknawn)

 

 

First Name Midd|e Name Last Name

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

ENo

El Yes. Fill in the details

 

 

 

 

 

 

 

Describe the action the creditor took Date action Amount
was taken
Creditor's Name `:
l $
Number Street 4
City State ZlP Code Last 4 digits of account number: XXXX-

l 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

g No
n Yes

m List ¢ertain Gifts and Contributions

j 13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
No
m Yes. Fill in the details for each gift.

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts

 

 

person to Whom You Gave the Gift l

 

 

Number Street §

 

City State ZlP Code

Person’s relationship to you

 

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts

 

 

Person to Whom You Gave the Gift

 

 

Number Street

 

City State ZlP Code

Person’s relationship to you

 

 

folcial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 6

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Debtor1 Richard C Neely Jr Case number (lfknown)

First Name Middle Name Last Name

 

 

§ 14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

ENo

m Yes. Fill in the details for each gift or contribution

Gifts or contributions to charities Describe what you contributed Date you Value
that total more than $600 contributed

 

 

Charity's Name

 

 

 

Number Street

 

City State ZlP Code

 

List Certain Losses

 

 

v 15. Within 1 year before you filed for bankruptcy or since you t“lied for bankruptcy, did you lose anything because of theft, fire, other
§ disaster, or gambling?

MNo

El Yes. l=lll in the details

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property

how the loss occurred _ _ _ _ . loss lost
include me amount that lnsurance has pald. Llst pendlng insurance

claims on line 33 of Schedule A/B: Property.

 

 

 

List Certain Fayments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy

[Z No
l;l Yes. Fi|| in the detaiis.

 

 

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
Person Who Was Paid § made
Number Street § $
; $

 

 

City State ZlP Code

 

 

Email or website address ) §

 

Person Who Made the Payment, if Not You §

 

 

Officiai Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 7

 

Case 19-21192-jra Dcc 1 Filed 04/30/19 Page 59 cf 76

Debtor1 Richard C Neely Jr

Case number (irknown)

 

 

 

 

 

 

First Name Middie Name Last Name
Descripticn and value of any property transferred Date payment or Amount of
transfer was made payment
Person Who Was Paid
$
Number Street
$

 

 

City State ZlP Code

 

Email or website address

 

 

 

Person Who Made the Payment, if Not Vou f

 

17. Within 1 year before you fried for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

MNo

n Yes. Fill in the details.

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
made
Person Who Was Paid §
~ $
Number Street
$

 

City State Z|P Code

 

 

18. Within 2 years before you filed for bankruptcy, did you sei|, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement.

MNO

E| Yes. l=lll ln the details

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

 

 

Person Who Received Transfer §

 

Number Street §

 

 

city stale zlP code l

 

 

Person’s relationship to you

 

 

 

Person Who Received Transfer §

 

Number Street

 

 

City State ZlP Code §

 

 

Person’s relationship to you

Offlcial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 8

 

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Debtor1 Richard C Neely Jr Case number (irlmawn)

First Name Middle Name Last Name

 

 

§ 19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

No
El Yes. Fill in the details

Description and value of the property transferred Date transfer
was made

 

Name of trust 1 '

 

 

 

List Certain Financial Accounts, lnstruments, Safe Deposit Boxes, and Storage Units

 

20; Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?
lnclude checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

MNO

Cl Yes. Fill in the details.

 

 

Last 4 digits of account number Type of account or Date account was Last balance before
instrument closed, sold, moved, closing or transfer
or transferred
Name of Financial lnstitution
XXXX- Cl checking s
Number Street cl Savings

m Money market

 

a Brokerage
City State ZlP Code n other

 

   

 

 

XXXX- n Checking $
Name of Financial institution
a Savings
Number street cl Money market

n Brokerage

 

n Other

 

City State ZlP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

g No
D Yes. Fill in the details.

 

 

 

 

 

 

 

Who else had access to it? Describe the contents Do you still
have it?
n No
Name of Financial lnstltution Name § n Yes
Number S“'eet Number Street l §
city state ziP code

 

 

city state ziP code

 

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Debtor1 Richard C Neely Jr Case number (lfknown)

 

 

First Name Middle Name Last Name

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
a No
El Yes. Fiii in the detaiis.

 

 

 

 

 

 

 

Who else has or had access to it? Describe the contents Do you still
have it?
1 n No
Name of Storage Faci|ity Name n Yes
Number Street Number Street ,
citysiaie ziP code
f s
m ldentify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? lnclude any property you borrowed from, are storing for,
or hold in trust for someone.
la No
El Yes. Fiii in the detaiis.
Where is the property? Describe the property Value

 

 

Owner’s Name §

“ " Street §
Number Street

 

 

 

 

City State ZlP Code

 

City State Zl? Code

 

m Give Details About Environmental information

~ For the purpose of Part 10, the following definitions apply:

, Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of

hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,

including statutes or regulations controlling the cleanup of these substances, wastes, or material.

a Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or

utilize it or used to own, operate, or utilize it, including disposal sites.

iii Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
` substance, hazardous material, pollutant, contaminant, or similar term.

1 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

ENo

El Yes. Fiii in the details

 

 

 

 

Date of notice

Governmental unit Environmental law, if you know it
g ,\
Name of site Govemmental unit l
Number Street Number Street

City State ZlP Code

 

 

City State ZlP Code

Ochial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy

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Debtor1 RlChal'Cl C Neely Jl' Case number (lfknown)

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First Name

 

Middle Name Last Name

` 25.Have you notified any governmental unit of any release of hazardous material?

MNo

n Yes. Fill in the detai|s.

Governmental unit Environmental |aw, if you know it Date of notice

 

 

Name of site

Governmental unit

 

 

Number Street

Number Street

 

City State ZlP Code

 

City

State ZlP Code

26. Have you been a party in anyjudicial or administrative proceeding under any environmental law? lnclude settlements and orders.

ZNQ

Cl Yes Fill in the details

Case title

Status of the

 

 

 

 

Case number

 

Court or agency ` Nature of the case g case

Court Name a Pendlng
m On appeal

Number Street m Concluded

City State ZlP Code

m Give Details About Your Business or Connections to Any Business

 

' 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
` cl A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

cl A member of a limited liability company (LLC) or limited liability partnership (LLP)

n A partner in a partnership

m An oft"lcer, director, or managing executive of a corporation

a An owner of at least 5% of the voting or equity securities of a corporation

g No. None of the above applies. Go to Part 12.
n Yes. Check all that apply above and fill in the details below for each business.

Describe the nature of the business Employer identification number

 

Business Name

Do not include Social Security number or lTlN.

 

 

Number Street

 

 

 

 

,C*,ty

 

§ §ElN:_____-__________
Name of accountant or bookkeeper Dates business existed
From To
l
t ,S._*?Se<... ,Z!PF°F?¢,, _, , l _
Describe the nature of the business Employer lclentification number

Do not include Social Security number or lTlN.

 

Business Name

 

EIN: -

 

Number Street

 

Name of accountant or bookkeeper Dates business existed

 

 

From To

 

 

City

Offlcial Form 107

 

 

State ZlP Code

 

Statement of Financial Affairs for lndividuals Filing for Bankruptcy page 11

 

Debtor1 Richard C Neely Jr

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Case number (lfknown)

 

First Name Middle Name Last Name

 

Employer identification number
Do not include Social Security number or lTlN.

Describe the nature of the business

 

Business Name

ElN: -

 

N ber St t
um fee Name of accountant or bookkeeper Dates business existed

 

 

From To

 

City State ZlP Code

 

 

 

 

28. Within 2 years before you t"lled for bankruptcy, did you give a financial statement to anyone about your business? lnclude all Financial

 

institutions, creditors, or other parties.

ENo

a Yes. Fill in the details below.

Date issued

 

Name MM l DD l YYYY

 

Number Street

 

 

City State ZlP Code

msign Below

l have read the answers on this Statement of Financial Affairs and any attachments, and l declare under penalty of perjury that the
answers are true and correct. l understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

X @\N M r\/~XN/A

 

 

Signature of Debtor1 \ Signature of Debtor 2
Date 04/30/2019 Date

Did you attach additional pages to Your Statement of Financial Affairs for lndividuals Filing for Bankruptcy (Official Form 107)?

g No
n Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
g No

L_.l Yes. Name of person . Attach the Bankruptcy Petition Preparer’s Notice,
Dec/aration, and Signature (Official Form 119).

 

Offlcia| Form 107 Statement of Financial Affairs for lndividuals Filing for Bankruptcy page 12

 

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Fill in this information to identify your case:

Debtor1 Richard C Neely Jr

First Name Middle Name Last Name

Debtor 2 N/A

(SpOuSe, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Northern District Of indiana

Case number n Check if this lS an
(lfknown) amended filing

 

 

 

Of'iicial Form 108
Statement of lntention for lndividuals Filing Under Chapter 7 12/15

 

lf you are an individual filing under chapter 7, you must fill out this form if:

l creditors have claims secured by your property, or

l you have leased personal property and the lease has not expired.

You must Hle this form with the court within 30 days after you flle your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
lf two married people are filing together in a joint case, both are equally responsible for supplying correct information.

Both debtors must sign and date the form.

Be as complete and accurate as possible. |f more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

m List Your Creditors Who Have Secured Claims

l 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
` information below.

identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?
Creditor'$ L_.l Surrender the property, a No

name Chase Mortgage
Descriptlon of 1877 Boardwalk Circle

n Retain the property and enter into a
rt . .
§;‘;i;‘:in>é deth Portage lN 46368 (debtors resldence) Reamrmatl.an Agreement_

3 Retain the property and [explain]: avoid lien

 

 

Creditor’s _
name; Wells Fargo Dealer Servlces m Surrender the property a N°

` n Retain the property and redeem it. m Yes
Description of 2013 DOdge Charger
property

securing debt:

n Retain the propelty and enter into a
Reafiirmation Agreement.

n Retain the property and [explain]:

 

 

 

 

Creditor's _ r'.
name: Carmax Auto Fmance a Surrender the property. . No
Description of 2012 Chevrolet Ma||bu m Retain the property and enter into a

lt
§;;Z?in; debt Reaffirmation Agreement.

C\ Retain the property and [explain]:

Creditor’$ a Surrender the property. n No
name r_ ,, N,/.A __ t ,, t . t _

n Retain the property and redeem it. Cl Yes
Description of
property

securing debt:

Cl Retain the property and enter into a
Reaermc-ltion Agreement.

Cl Retain the property and [explain]:

 

Ulllbldl l“\)llll IUU QI»CI.CIII\:II\ Ul llll¢lllllull lul Illulvluudla l"lllllg ullu\=l \Jlldpl€l l FGSC l

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Debtor1 Richard C Neely Jr Case number (lfknown)

First Name Middle Name Last Nema

m List Your Unexpired Personal Property Leases

" For any unexpired personal property lease that you listed' ln Schedule G: Executory Contracts and Unexpired Leases (Official Form 1OGG),
v fill' ln the information below. Do not list real estate leases. Unexpired leases are leases that are still' ln effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U. S. C. § 365(p)(2).

 

 

 

 

 

 

 

Describe your unexpired personal property leases Wi|l the lease be assumed?
Lessor’s name Progressive Leasing 3 NO
Descnption of|eased headboard footboard rails, 2 dressers mirror es
property:

Lessor’s name: N/A b m No
Description of leased 6
property:

v Lessor’s name: N/A L_.l No
Description of leased n Yes
property:

Lessor’s name: N/A Cl No
, n Yes
Description of leased
property:

Lessor’s name: N/A El No
., uYeS
Description of leased
property:

Lessor’s name: N/A L__l No

' n Yes

Description of leased
property:

Lessor’s name: N/A l;l No

l:l Yes

Description of leased
property:

 

Under penalty of perjury, l declare that l have indicated my intention about any property of my estate that secures a debt and any
personal property that is subject to an unexpired lease.

xb\ l\lt,ut4 Aj\/\ XN/A

Signature of Debtor 1 Signature of Debtor 2

Date 04/30/2019 _ Date
MM/ DD / YYYY MM/ DDl YYYY

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UN|TED STATES BANKRUPTCY COURT
Northern District of indiana

Hammond Division

|n Re: Richard C Nee|er Case No:

Chapter: 7
Debtor(s)

Veriticatl'on of Creditor Matrix

The above-named debtor(s) verifies under penalty of perjury that the attached
list of creditors is true and correct to the best of his/her knowledge

Dated: 04/30/2019 \@\M et )-\/\<PQ\V
\-/\

Debtor(s)

~/ d

Joint Debtor

 

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Adva nce America
1619 E 37"‘ Ave
Hobart iN 46342

Albert's Jewe|ers/ Albert's Diamond Jewe|ers, inc
711 i\/|ain St
Schererviile iN 46375

Apex Asset i\/lanagement
2501 Oregon Pike Ste 201
Lancaster PA 17601

AT| Physical Therapy/ Ath|etic & Therapeutic inst
4947 Paysphere Circle
Chicago lL 60674

Capital One Bank USA N.A.
P 0 Box 30285
Sa|t Lake City UT 84130

Cari\/iax Auto Finance

225 Chastain i\/ieadows Court
Kennesaw GA 30144

Richard C Neely Jr

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Carmax Auto Fina nce
12800 Tuckahoe Creek Pkwy
Richmond VA 23238

Chase Bank
270 Park Avenue
New York NY 10017

Chase Mortgage
700 Kansas Lane

i\/|onroe LA 71203

Chase Mortgage
301 N Walnut St Floor 09
Wi|mington DE 19801

ChexSystems
7805 Hudson Rd Ste 100
Woodbury i\/lN 55125

Comcast/ Xfinity

P 0 Box 3002
Southeastern PA 19398
Richard C Neely Jr

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Credit One Bank N.A.
P 0 Box 98875
Las Vegas NV 89193

Credit One Bank N.A.
6801 S Cimarron Road
Las Vegas NV 89113

Darvin Furniture
15400 S La Grange Rd
Orland Park lL 60462

David A Foelber
504 Linco|nway
Valparaiso iN 46383

Equifax
P 0 Box 740241
At|anta GA 30374

Expenan

P 0 Box 2002
A|ien TX 75013
Richard C Neely Jr

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First Nationa| Credit Card CI\/lC
500 E 60th st N
Sioux Fal|s SD 57104

First National Bank/ CCS
500 E 60th st N
Sioux Fal|s SD 57104

First Premier Bank/ Premier Bankcard
3820 N Lousie Ave
Sioux Fa||s SD 57107

First Premier Bank/ Premier Bankcard
601 S i\/iinnesota Ave
Sioux Fal|s SD 57104

FSB/ Blaze Credit Card
500 E 60th st N
Sioux Falls SD 57104

FSB/ B|aze Credit Card
P O BOX 5096

SiOuX Falls SD 57117
Richard C Neely Jr

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Green Trust
P O Box 340
Hays i\/|T 59527

|nbox Loans/ Kashia inbox Loans
P 0 Box 881
Santa Rosa CA 95402

indiana American Water
P 0 Box 3027
i\/liiwaukee Wi 53201

indiana Dept of Revenue
100 N Senate Ave Ste N105
indianapolis iN 46204

lefferson Capita| Systems
16 l\/che|and Rd
Saint C|oud i\/IN 56303

Kashia inbox Loans/ |nbox Loans
P 0 Box 637

B|anding UT 84511

Richard C Neely .ir

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Loan at i_ast
P 0 Box 1193
Lac Du Fiambeau Wi 54538

l\/iidland Funding LLC
320 East Big Beaver Rd
Troy l\/li 48083

iViidwest Orthopaedics at Rush LLC
P 0 Box 14099
Beifast |\/lE 04915

NCB i\/lanagement Services inc
1 Al|ied Drive
Trevose PA 19053

Nicas G Yiannias DDS
5943 Central Ave
Portage |N 46368

Onei\/|ain Financial
P 0 Box 1010
Evansvi|le iN 47706
Richard C Neely Jr

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Onel\/lain Financial
100 international Drive FL 15th
Ba|timore i\/|D 21202

Porter County Sheriff/ Civi| Division
2755 S State Road 49
Valparaiso lN 46383

Porter Regionai Hospitai
85 E US Highway 6
Vaiparaiso lN 46383

Porter Superior Court
3560 Willowcreek Rd
Portage iN 46368

Porter Utility Service Board
6070 Central Ave
Portage iN 46368

Progressive Leasing
256 Data Dr
Draper UT 84020
Richard C Neely .Ir

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Repubiic Bank Trust Co
601 West i\/iarket Street
Louisville KY 40202

Repub|ic Corporate Center
601 West i\/iarket Street
Louisville KY 40202

Sears/ CBNA
P O Box 6282
Sioux Fa||s SD 57117

Sears/ CBNA
P O BOX 6217
Sioux Fa|ls SD 7117

Sears/ CBNA
133200 Smith RC|
Cleve|and OH 44130

Snow & Sauerteig Co|lect
203 E Berry St

Fort Wayne |N 46802
Richard C Neely Jr

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Sprint
P O Box 8077
London KY 40742

TBOi\/l/ Genesis Retai|
P O Box 4499
Beaverton OR 97076

Thomas C Higgins P.C.
205 East Jefferson Street

Va|paraiso lN 46383

TransUnion
P 0 Box 1000
Chester PA 19022

TrueAccord Corp
303 2"°' Street Ste 750
San Francisco CA 94107

Verizon Wireless/ Southeast
P O BOX 650051

Dallas TX 75265

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Verizon Wireless/ Southeast
P O BOX 26055
i\/linneapolis l\/lN 55426

Webbank/ Fingerhut
6250 Ridgewood Road
Saint C|oud |\/|N 56303

Wells Fargo Dea|er Services
P 0 Box 10709
Raieigh NC 27605

Wells Fargo Dea|er Services/ Wachovia DLS
1 Montgomery St Z"d F|

San Francisco CA 94104

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